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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

BOSTON RETIREMENT SYSTEM on behalf of
itself and all others similarly situated,
                             Plaintiffs,
                                            Case No. 3:16-cv-02127-AWT
                   - v. -
                                            MEMORANDUM OF LAW IN
ALEXION PHARMACEUTICALS, INC.;              SUPPORT OF DEFENDANTS’
LEONARD BELL; DAVID L. HALLAL;              MOTION TO DISMISS THE
VIKAS SINHA; DAVID BRENNAN; DAVID J.        AMENDED CONSOLIDATED CLASS
ANDERSON; LUDWIG N. HANTSON; and            ACTION COMPLAINT
CARSTEN THIEL,
                             Defendants.
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       Pursuant to Rules 9(b) and 12(b)(6) of the Federal Rules of Civil Procedure and the

Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u–4, et seq. (the “PSLRA”),

Defendants Alexion Pharmaceuticals, Inc. (“Alexion” or the “Company”), Dr. Leonard Bell,

David L. Hallal, Vikas Sinha, David Brennan, David J. Anderson, Ludwig N. Hantson and

Carsten Thiel respectfully submit this memorandum of law in support of their motion to dismiss

the Amended Consolidated Class Action Complaint, dated May 31, 2019 (the “Complaint” or

“New Complaint”), in its entirety and with prejudice.

                                   PRELIMINARY STATEMENT

       This lawsuit initially was filed after Alexion announced an investigation by the Audit and

Finance Committee of the Board of Directors (the “Audit Committee”) into “pull-in” sales—

sales that are encouraged by Company employees to take place earlier than they might otherwise

be made. In their prior complaint, Plaintiffs alleged that Alexion, by engaging in “pull-in” and

other purported sales conduct, but attributing its success to other factors, defrauded its

shareholders.   Defendants moved to dismiss, establishing, inter alia, that the prior complaint

failed to plead either that Alexion’s financial results had been misstated or that any Alexion

employee intended to mislead shareholders about the Company’s “pull-in” sales or its other sales

practices.

       In March, this Court told counsel that it was preparing to dismiss the prior complaint,

because the complaint failed adequately to plead that Defendants made any material

misstatements or acted with the requisite fraudulent intent. But before the Court issued that

ruling, Plaintiffs represented that they had obtained “new factual information from a variety of

sources.” The Court permitted Plaintiffs the opportunity to amend their pleading.

       The amended pleading that Plaintiffs filed in May—which is now before the Court—does

not cure any of the prior complaint’s fatal defects. Much of the New Complaint is copied and
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pasted from the prior one. The most striking changes to the New Complaint are subtractions:

the Audit Committee investigation that originally prompted this suit to be filed is now an

afterthought, and Plaintiffs have dropped all allegations that any Defendant had the motive or

opportunity to commit fraud.      And what Plaintiffs have added to the New Complaint is

cumulative—not new.       While the New Complaint contains purported first-hand accounts from

former Alexion nurses and managers, even Plaintiffs acknowledge that the most that those

accounts do is “corroborate[ ]” or “further detail[ ]” allegations that Plaintiffs already made

based on other sources.

       As before, Plaintiffs’ core theory is that Alexion somehow defrauded its shareholders by

failing to disclose three buckets of conduct: (i) that certain sales were “pulled-in” a quarter

early; (ii) that Alexion funded a non-profit in Brazil that allegedly filed fraudulent lawsuits on

behalf of patients seeking reimbursement from the Brazilian government for Soliris, Alexion’s

flagship drug; and (iii) that Alexion purportedly engaged in various “illegal and unethical sales

practices” relating to the Company’s relationships with doctors, nurses, labs and non-profits.

       None of the “new” allegations adds any substance to these topics. With respect to “pull-

ins,” the New Complaint has significantly scaled back the facts alleged. And Plaintiffs’ factual

allegations with respect to Alexion’s conduct in Brazil are unchanged. Nearly all of the “new”

allegations thus pertain to Alexion’s “sales practices.” But those “new” allegations—based on

former employees’ accounts—cover the very same ground as the “sales practice” allegations

addressed in a May 2017 Bloomberg article that was prominently detailed in the prior complaint.

The problem with those allegations was not a lack of depth. The problem was that Plaintiffs’

theory was legally wrong: the aggressive pursuit of sales is not a basis on which to plead

securities fraud. Because the New Complaint fails to remedy the problems with the old one, it




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should be dismissed, with prejudice.

       First, the Complaint again fails to identify materially false or misleading statements or

omissions. Plaintiffs’ “pull-in” allegations are even weaker than in the prior complaint and the

Brazil-related allegations are effectively unchanged. With respect to “new” allegations from the

former Alexion employees regarding Alexion’s “sales practices,” they fail for the same reasons

as the prior allegations, including that: (i) Alexion’s challenged practices were already disclosed

by the Company, which openly discussed its search for patients with ultra-rare diseases who

would benefit from Soliris; (ii) the conduct about which Plaintiffs complain is immaterial; and

(iii) Plaintiffs failed to plead any facts that would obligate Alexion to disclose uncharged,

unproven purported wrongdoing. (See Argument I.A.)

       Second, the Complaint again fails to provide factual allegations sufficient to establish the

requisite “strong inference” that Defendants acted with fraudulent intent. Because Plaintiffs no

longer allege that any Defendant had the motive or opportunity to defraud shareholders, the

strength of their circumstantial allegations of fraudulent intent must be correspondingly greater.

Plaintiffs do not meet that standard. None of the former employees’ factual allegations show that

any member of Alexion’s management knew that any financial or other information in the public

filings was misstated (as is required). The most that Plaintiffs’ allegations show is that Alexion

executives attended meetings when sales practices were discussed, and certain employees felt

pressured to aggressively pursue Soliris sales (the revenues for which never have been restated).

Such allegations do not plead an intent to deceive shareholders. (See Arguments I.B. and I.C.)

       Finally, Plaintiffs again fail to plead that the alleged misstatements or omissions were the

proximate cause of Plaintiffs’ losses. Many of the purported “corrective disclosures” are nothing

more than journalistic characterizations of events that had already been disclosed. Further, when




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the Company disclosed that it had a “tone at the top” material weakness, Alexion’s stock

increased, eliminating any proximate causal chain between the alleged misstatement and any

purported harm to the Plaintiffs. (See Argument I.D.)

           For these reasons and others, as discussed in greater detail below, Defendants respectfully

submit that the Complaint should be dismissed.

                                      STATEMENT       OF RELEVANT       FACTS 1
           A.       Alexion and Its Mission

           Alexion is a Boston, Massachusetts-based biopharmaceutical company that serves

patients with devastating and rare disorders. (Compl. ¶ 32.) The Company was founded in 1992

by a Yale University cardiologist named Dr. Leonard Bell. (Id. ¶¶ 32, 52.) Over the past 25

years, Alexion has transformed from a fledgling start-up company to a leader in the ultra-rare

disease space, treating patients in approximately 50 countries worldwide. (See Ex. 1. 2)

           Dr. Bell left Yale in 1992 and founded Alexion to focus on a category of anti-

inflammatory therapies called complement inhibitors.                  (Compl. ¶ 52-53; Ex. 2.)          The aim of

complement inhibitors is to limit the “complement cascade”—the immune response that helps

the blood stream get rid of damaged cells and bacteria. (Compl. ¶ 53; see Ex. 2.) This protective

cascade can, in some cases, cause harm, e.g., by leading to myocardial infarctions (death of heart


1
  The relevant facts are drawn from the Complaint and from other sources that the court is permitted to review. To
the extent the Complaint quotes, cites, or references a document, that document is considered part of the Complaint .
See Rothman v. Gregor, 220 F.3d 81, 88 (2d Cir. 2000) (“For purposes of a motion to dismiss, we h av e d eemed a
complaint to include any written instrument attached to it as an exhibit or any statements or documents incorporated
in it by reference, as well as public disclosure documents required by law to be, and that have been, filed wit h t h e
SEC, and documents that the plaintiffs either possessed or knew about and upon which they relied in b rin g in g t h e
suit.”) (internal citations omitted). Similarly, a court can “take notice of the existence of a publicly-available
newspaper or magazine article” and of “certain widely known adjudicative facts not subject to reasonable disp ute.”
O’Keefe v. Ogilvy & Mather Worldwide, Inc., No. 06 Civ. 6278 (SHS), 2006 WL 3771013 (S.D.N.Y. Dec. 18,
2006) (emphasis in the original); see Pehlivanian v. China Gerui Advanced Materials Grp., Ltd., 153 F. Su p p . 3d
628, 643 (S.D.N.Y. 2015) (court may take judicial notice of “press coverage establishing what information exis t ed
in the public domain during periods relevant to the plaintiffs’ claims”) (internal quotation marks omitted). The facts
outlined herein are being accepted as true only for the motion to dismiss.
2
    Citations to “Ex. __” refer to exhibits attached to the Declaration of Maxwell A. Kosman, which is attached hereto.


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tissue) or by contributing to disorders such as multiple sclerosis or arthritis. (Compl. ¶ 53; Ex.

2.) By developing a drug to inhibit this immune response, Dr. Bell sought to treat autoimmune

disorders. (See Ex. 2.)

       In 1995, while probing the relationship between the body’s immune system and its blood

cells, Alexion had a breakthrough: it developed a fragment of a complement inhibitor called a

“monoclonal antibody.”    (See Compl. ¶ 55; Ex. 2.) That antibody would later become Soliris

(eculizumab)—Alexion’s first commercially available drug, and the centerpiece of the

Company’s portfolio. (Compl. ¶¶ 55-56.)

       Alexion tested Soliris for a number of uses, including to treat rheumatoid arthritis and

kidney disease, but found the biotechnology ineffective in treating those disorders. (See id. ¶ 57;

Ex. 2.) In 2002, however, a doctor in Leeds, England, recognized Soliris’ potential to treat a

much lesser-known disease: PNH. (Compl. ¶ 58; Ex. 2.)

       PNH is a life-altering and life-threatening ultra-rare blood disorder, caused by a problem

in the body’s complement response mechanism. (Alexion Pharms., Inc., Annual Report (Form

10-K) at 4 (Feb. 16, 2017) (“2016 10-K”).) It affects fewer than 16 out of every million people.

Red blood cells are attacked by the PNH patient’s body, causing the blood (and urine) to fill with

hemoglobin and resulting in complications ranging from kidney disease to anemia. (See Ex. 2.)

       The first clinical trial of Soliris showcased the drug’s transformative impact.       After

receiving Soliris, patients who had previously been bedridden were able to engage in activities

that were once unfathomable, from attending college and traveling internationally to engaging in

manual labor. (Id.) These life-changing results for patients led Alexion to secure approval for

Soliris from the FDA and from other regulators across the globe. (Id.) In one study conducted

during the FDA approval process, Soliris helped every one of the 97 PNH patients to whom it




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was administered. (Id.) The FDA approved Soliris to treat PNH in 2007. (Compl. ¶ 59.)

         Soliris is a truly groundbreaking drug. While, prior to Soliris’ introduction, 35 percent of

PNH sufferers died within five years of diagnosis, PNH patients who are treated with Soliris now

have life expectancies commensurate with those of their healthy peers. (See Ex. 2.) Likewise,

over 90 percent of PNH sufferers experience improvements with respect to renal disease and

thrombosis, two of PNH’s most significant consequences. (Ex. 3 at 8.)

         In 2011, Soliris was approved for treatment of a second ultra-rare disorder: aHUS.

(Compl. ¶ 60.)         Like PNH, aHUS is characterized by chronic, uncontrolled complement

activation. (2016 10-K at 4.) Children and adults afflicted with aHUS—approximately 1 out of

every 500,000 people—experience the formation of blood clots in small blood vessels

throughout their bodies, resulting in life-threatening damage to the kidney, brain, heart and other

vital organs. (See id.; Ex. 4.) Without Soliris, over 70 percent of aHUS patients died, required

dialysis, or experienced permanent renal damage within one year of diagnosis. (Ex. 3 at 12.)

After beginning treatment with Soliris, these patients are often able to recover kidney function

and lead normal lives. (See id. at 16.) 3

         But even after having developed a highly effective, life-saving drug to treat ultra-rare

diseases, one of the greatest challenges facing Alexion is identifying the patients who suffer from

the little-known and misunderstood conditions of PNH and aHUS. As Alexion’s former Chief

Commercial Officer Carsten Thiel has explained, when Alexion staff “meet physicians and talk

about our diseases, in most cases, [the physicians] know very, very little about it. In fact, if we


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  In the United States, drugs like Soliris that treat diseases affecting fewer than 200,000 people in the country can be
designated as “orphan drugs” (Ex. 4) and Soliris has been granted orphan drug designation fo r t reat men t o f b o t h
PNH and aHUS. (See 2016 10-K at 4-5.) This designation recognizes the public health challeng es p resented b y
ultra-rare diseases like PNH and aHUS, including the lack of incentives for companies t o d evelo p d rugs t o t reat
disorders that afflict only a tiny percentage of the population, which the Orphan Drug Act was intended to add ress.
See Orphan Drug Act of 1983, H.R. 5238, 97th Cong. § 1(b)(4), (6) (1983).


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look at PNH and aHUS, in most cases, they have heard maybe once or twice in their medical

education in medical school about those diseases, full of misperceptions.” (Ex. 1 at 16.) One

common misconception is that PNH is a “disease of anemia,” or “a benign disease that has no

harmful consequences” and can be “easily treat[ed] with transfusions and anticoagulants.” (Id. at

17.) Likewise, doctors frequently believe that aHUS is “an episodic disease [that is] limited to

the kidney” and that can be “easily treat[ed]. . . with plasma exchange and plasma infusion.”

(Id.; Ex. 3 at 5, 11.) In reality, both PNH and aHUS are life-long and devastating, and the

treatments viewed as alternatives to Soliris are very often ineffective. (Ex. 1 at 17.)

       Another challenge faced by Alexion is that laboratories often do not know how to

properly test for PNH and aHUS. For example, many labs and physicians mistakenly believe

that diagnosing PNH requires bone marrow samples, when in reality high-sensitivity peripheral

blood flow cytometry is required for accurate diagnoses. (Ex. 3 at 5.)

       The lack of clinical and laboratory awareness raises the prospect that people will be

unnecessarily debilitated by—and will die from—these devastating diseases. That is why Dr.

Bell pledged to “continue to accelerate [Alexion’s] efforts to support rapid diagnosis and

treatment of more patients . . . , as well as [to] continue to educate physicians about the genetic

lifelong nature of the disease.” (Earnings Call, Alexion Pharms., Inc. at 6 (Apr. 24, 2014).) As

Thiel echoed: “[t]here wouldn’t be the rare disease business without disease education. There

wouldn’t be a rare disease business without rapid and accurate diagnoses and without patient

support.” (Ex. 1 at 15.) Such efforts are vital, because the longer patients go without treatment,

the greater the risk of debilitating effects. (Id. at 16.) Alexion thus frequently discloses its

strenuous efforts to ensure that as many PNH and aHUS patients as possible can benefit from its

groundbreaking, life-changing drug, Soliris:




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       Disease Awareness. Alexion goes to great lengths to address the medical community’s

PNH and aHUS knowledge gap. The Company has explained that it “partner[s] with medical

experts” to help present “[s]trong scientific evidence” to “[o]vercome misperceptions” and to

“[r]aise awareness of morbidities & mortality.” (Ex. 3 at 2.) Alexion has been transparent that

the objective of these awareness initiatives is to “drive” Soliris’s “benefits to more patients . . .

on a daily basis.” (Ex. 1 at 17.) Among other things, the Company educates doctors on how to

identify patients that fall into “high risk groups” for the diseases. (Ex. 3 at 7.) The Company

further educates doctors on the devastating impacts of the diseases and the observed success that

Soliris has had in treating them. (Id. at 8-9, 11.) With respect to aHUS, for example, in order to

correct the notion that the disease is temporary and Soliris may not be the best treatment option,

the Company has focused on “getting more . . . patients assessed for aHUS,” moving “Soliris

treatment into first line as rapidly as possible after diagnosis,” and presenting the “strong medical

evidence of [the] life-long nature of the disease.”        (Ex. 1 at 17; see also David Hallal,

Presentation at Barclays Global Health Care Conference at 4 (Mar. 16, 2016).) As the Company

has explained, training doctors to recognize PNH and aHUS is a “tough journey[]” that “requires

continuous education.”    (Ex. 1 at 35.)      Alexion has also disclosed that it is “sponsoring a

multinational registry to gather information regarding the natural history of patients with PNH

and the longer term outcomes during Soliris treatment,” and that it has established a similar

registry for aHUS patients. (Alexion Pharms., Inc., Annual Report (Form 10-K) at 5, 26 (Feb.

10, 2014) (“2013 10-K”).)

       Diagnostic Initiatives. “Once physicians have recognized the devastating nature of the

disease, they want to know how to test and who to test.” (Ex. 1 at 16.) As the Company has

publicly disclosed, Alexion has introduced various “diagnostic initiatives” to aid in patient




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identification and testing. (Id.) Alexion has, for example, communicated with doctors regarding

various diagnostic “pathways” that help doctors rule out diseases with similar symptoms and

suggest to doctors which tests to run depending on the symptoms and results observed. (Id. at

18.)   One benefit of Alexion’s pathways is that it can quickly “rule out” other diseases “that

require different treatments”—an essential advantage when “there’s no day to lose to treat

patients.” (Id.) Similarly, Alexion has educated physicians regarding testing for PNH by using

“[h]igh-sensitivity peripheral blood flow cytometry,” which leads to more accurate diagnoses.

(Ex. 3 at 5.)    In order to facilitate these processes and to “[o]ptimize routine testing,” the

Company explained that it has “[d]eveloped lab partnerships.” (Id. at 2.)

        Patient Support. Alexion also provides appropriate support to PNH and aHUS patients,

consistent with industry and best practices. Alexion’s “OneSource” program provides education,

assistance with access to Soliris and treatment support for PNH and aHUS patients and their

caregivers. (Id. at 3; Ex. 1 at 16.) Patients with these ultra-rare diseases “require treatment

support for their daily life.” (Ex. 1 at 16.) The OneSource program ensures that “every case

manager . . . is an educated nurse that actually has done the job in the medical center.” (Id.) The

case managers serve as a practical resource with respect to the patients’ questions regarding

“reimbursement, co-payment, out-of-pocket expenses.”       (Id.)   The program is both positively

received by patients, and helps to convey the risks associated with Soliris treatment. Alexion has

routinely disclosed, for example, the “potential risk for PNH patients” and “aHUS patients” who

“delay a dose of Soliris or discontinue their treatment of Soliris”—risks potentially as serious as

renal failure or death. (Alexion Pharms., Inc., Annual Report (Form 10-K) at 33-34 (Feb. 6,

2015) (“2014 10-K”).) Soliris has a Risk Evaluation and Mitigation Strategy (“REMS”) program

that is required by the FDA, which, inter alia, mandates educational outreach about potential




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side effects. (Id. at 31.) Under the REMS program, physicians prescribing Soliris must certify

that they are aware of the potential risks associated with the administration of Soliris and that

they will inform patients of these risks using educational materials approved by the FDA. (Id.)

        Alexion has also provided support for the PNH and aHUS communities.               Alexion

identified that patients’ “insurance co-payment amounts or annual or lifetime caps on

reimbursements may represent a barrier to obtaining or continuing Soliris.” (2013 10-K at 29.)

The Company thus explained that it has “financially supported non-profit organizations which

assist patients in accessing treatment for PNH and aHUS,” including “patients whose insurance

coverage leaves them with prohibitive co-payment amounts or other expensive financial

obligations.” (Id.) The non-profit organizations that Alexion supports also help patients obtain

funding for Soliris through these channels. (See id. at 25.) Further, in some countries, including

Brazil, the governments have established a mechanism to serve their citizens with funding for

drugs like Soliris. (Compl. ¶¶ 156-58.)

        B.      History of this Litigation and Plaintiffs’ Allegations

        Shareholders initially filed this case on December 29, 2016. At that time, Alexion had

delayed filing its Form 10-Q for Q3 2016 and had announced, six weeks earlier, that the Audit

Committee was investigating allegations by a former employee regarding the Company’s sales

practices. (Ex. 5.) Without knowing the outcome of this investigation, or even the factual issues

addressed during the investigation, shareholders sued, asserting fraud claims under the federal

securities laws on the basis of this internal investigation.

        On January 4, 2017, the Audit Committee announced the results of its investigation. The

investigation concluded that none of Alexion’s previously reported financial information

required restatement, but disclosed that during Q4 2015, there was “inappropriate business

conduct” and that senior management did not set an appropriate “Tone at the Top,” which led to


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a material weakness in the Company’s internal controls over financial reporting. (Ex. 6 at 25.)

       The results were well received by the market, and the price of Alexion’s stock increased

from $123.60 per share on January 4, 2017, the day the investigation’s results were announced in

Alexion’s form 10-Q, to $143.61 per share two days later.          (Ex. 7).   Plaintiffs filed their

“Consolidated Class Action Complaint” or the “Prior Complaint” on July 14, 2017. (Dkt. 63.)

Faced with the reality that Audit Committee’s investigation failed to reveal any misstatements in

Alexion’s financial results and the report of the investigation was followed by an increase in

Alexion’s stock price, Plaintiffs sought in the Prior Complaint to connect the Audit Committee’s

findings to several unrelated developments, which they characterized broadly under the umbrella

of “sales practices.”    Those “developments” included the announcement of a government

investigation in Brazil, Alexion’s replacement of its senior management team and the release of

an unflattering article by Bloomberg.

       On September 12, 2017, Defendants moved to dismiss the Prior Complaint. (See Dkt.

79-1.) That motion was fully briefed on December 28, 2017. (See Dkt. 86; Dkt. 99.) On March

26, 2019, this Court held a telephonic status conference. (Dkt. 114.) During the Conference, the

Court “informed counsel that it was preparing a ruling granting the Defendants’ Motion to

Dismiss the Consolidated Class Action Complaint.” (Id.) Counsel for Plaintiffs “asked for time

to consider their options,” id., and later requested, with the Court’s permission, to file a second

consolidated amended complaint, Dkt. 116.

       Plaintiffs filed the new, operative Complaint on May 31, 2019. Much of the material

from the Prior Complaint is re-asserted, verbatim, in the New Complaint. And the gravamen of

Plaintiffs’ theory is unchanged: that Alexion misled investors by “falsely attributing the source

of the Company’s meteoric success to its ability to identify new patients,” when, in reality, the




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Company “improperly boosted sales” through “illegal practices.” (Compl. ¶ 1.) While Plaintiffs

have added factual allegations based on the purported accounts of various “Confidential

Witnesses” (“CWs”), the “new” accounts all relate to Alexion’s purportedly improper “sales

practices,” and are cumulative of the allegations Plaintiffs made in the Prior Complaint:

       “Pull-In Sales”. The Prior Complaint focused heavily on “pull-in” sales, which occur

“when a customer, as a result of encouragement by an employee, places an order for a patient

earlier than the customer might otherwise place the order.”        (Ex. 8 at 1.) While the Audit

Committee investigation identified “inappropriate business conduct” in one quarter regarding

“pull-in” sales—the fourth quarter of 2015—the Committee and Alexion’s outside auditors

agreed that Alexion’s “previously issued financial results [did] not require restatement.” (Id.)

       The Court signaled during the March 2019 conference that the Plaintiffs’ prior “pull-in”

allegations were deficient. But instead of trying to buttress their prior pleading, Plaintiffs have

stripped out from the New Complaint nearly all “pull-in” related allegations. In fact, Plaintiffs

now claim that the Audit Committee investigation from which those allegations were derived

somehow “downplay[ed] the extent of Alexion’s illegal and unethical sales practices.” (Compl.

¶ 22.) Plaintiffs offer no support for this new—and entirely inconsistent—theory.

       Notwithstanding Plaintiffs’ efforts to discredit the Audit Committee’s findings with

respect to the scope and impact of Alexion’s “pull-in” sales, they continue to rely on the

Committee’s investigation in other ways.       For example, the Plaintiffs attempt, without any

factual basis, to tie their broader “sales practices” allegations to the Committee’s findings

regarding “inappropriate business conduct” and that “there was a material weakness in the

Company’s internal controls over financial reporting because senior management did not set an

appropriate ‘Tone at the Top.’”       (Ex. 6 at 25.)    In addition, while the Audit Committee’s




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investigation was pending, Alexion’s CEO David Hallal departed for “personal reasons” and its

CFO Vikas Sinha departed “to pursue other opportunities.”                (Compl. ¶ 184.)      Alexion’s

announcement of the departures on December 12, 2016 did not link them to any finding, by the

Company or anyone else, that Hallal or Sinha had engaged in intentional misconduct of any kind,

much less securities fraud.     (See Ex. 9.)     Plaintiffs nonetheless try, as before, to link those

departures to the Audit Committee’s investigation. While Plaintiffs have now added allegations

that certain sales practices changed after Hallal and Sinha departed, Compl. ¶ 189, neither this

nor any other pleaded fact links the Committee’s investigations to the executives’ departures.

        Alexion’s Operations In Brazil. Plaintiffs’ allegations regarding Alexion’s operations

in Brazil are substantively unchanged from the Prior Complaint:

        Drawing from a May 8, 2017 article in the Brazilian magazine Exame and the May 23,

2017 Bloomberg article, Plaintiffs allege that Alexion’s São Paolo office was raided by Brazilian

authorities as part of a broader investigation by the Brazilian Attorney General’s office into the

pharmaceutical industry.     (See Compl. ¶ 202; Prior Compl. ¶ 74.)         According to the Exame

article, the investigation and raid resulted from the potential misdiagnosis and treatment of one

Brazilian patient. (See Compl. ¶ 204; Prior Compl. ¶ 77.)

        The potentially misdiagnosed patient had received support from Associação dos

Familiares, Amigos e Portadores de Doenças Graves (AFAG).               In Brazil, medical care is a

constitutional right.   (Compl. ¶ 156; Prior Compl. ¶¶ 102-03.)           Through a process called

“judicialization,” patients can sue the government for access to necessary drugs. (Id.) AFAG

assists patients by, inter alia, filing judicialization suits on their behalf for access to and coverage

for Soliris.   (Compl. ¶¶ 157-58, 161; Prior Compl. ¶¶ 76-77.)           The Complaint alleges that

Alexion facilitated contact between the patient at the center of the raid and AFAG, and that, after




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gaining access to Soliris, the patient ceased taking it and built up a surplus of the drug. (Compl.

¶¶ 160, 204; Prior Compl. ¶¶ 79, 107.)

         The Complaint notes that Alexion has donated to AFAG, and alleges that such donations

afford the Company “special access” to AFAG’s patient records. (Compl. ¶¶ 158-159; Prior

Compl. ¶¶ 104-05.) The Complaint also alleges that, in addition to the case that prompted the

Brazilian raid, there have been “at least ten similar lawsuits filed by AFAG involving Soliris.”

(Compl. ¶ 205; Prior Compl. ¶ 78.) While Plaintiffs have added the conclusory statement that

“some of the lawsuits funded by Alexion through its donations to AFAG appear to have been

fraudulent,” Compl. ¶ 160, Plaintiffs have not added factual allegations to support that “new”

conclusion.     Nor do Plaintiffs allege that Alexion had knowledge of any efforts by AFAG to

deploy the judicialization process in Brazil in an inappropriate way. 4 More than two years after

the raid, Alexion still has not been charged with any wrongdoing, either criminal or civil.

         As Defendants previously identified, and the New Complaint does not refute, use of the

judicialization process to obtain access to Soliris (and other drugs) is well documented. In 2012,

the Brazilian periodical, Epoca, published a story that focused on a man who (i) had been

prescribed Soliris at the recommendation of a doctor purportedly connected to Alexion; and

(ii) was referred by his doctor to a lawyer who helped secure government reimbursement for the

drug. (See Christiane Segatto, O paciente de R$800,000, EPOCA (Mar. 23, 2012).) The story also

asserted that the same lawyer had brought similar suits on behalf of many others. (Id.) More

broadly, the proliferation of Brazilian judicialization claims has attracted extensive attention,

including among academics, who have published numerous articles on the subject. 5 Likewise,


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  As before, the Complaint alleges that the value of the Soliris sales “stockpiled” by the misdiagnosed woman at t h e
center of the raid was 2.2 million reais, or approximately $700,000. (Compl. ¶ 160; Prior Compl. ¶ 107.)
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  See João Biehl et al., Between the Court and the Clinic: Lawsuits for Medicines and the Right to Health in Bra zi l,
14 Health and Human Rights 1 (2012); João Biehl et al., Judicialisation and the Right to Health in Brazil, 373 Th e


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Alexion’s donations to AFAG have been disclosed. Plaintiffs themselves draw attention to the

fact that in 2015, Alexion published a document that reported that the Company donated 1.672

million reais to the organization that year.            (Compl. ¶ 158.)       Alexion’s donation to AFAG

increased to 2.675 million reais the following year. (Id.)

        The Bloomberg Article, and Alexion’s Relationships with Doctors, Nurses, Labs and

PAOs. Nearly all the “changes” in the New Complaint relate to Plaintiffs’ allegations regarding

Alexion’s relationships with doctors, nurses, labs and PAOs.                      But while Plaintiffs have

rearranged their brief and added a number of new paragraphs—based on accounts by former

Alexion employees (the CWs)—the core substance of Plaintiffs’ factual allegations is

unchanged. The CWs—three nurses, a “Regional Clinical Specialist,” and a “Senior Director,”

Compl. ¶¶ 41-45—allege the very same types of conduct identified in the Prior Complaint.

        The Prior Complaint relied heavily on the May 24, 2017 Bloomberg article, which

focused on the Company’s relationship with doctors, nurses, testing laboratories and PAOs.

(Prior Compl. ¶¶ 89-109.) Based on the article, Plaintiffs alleged that Alexion engaged in three

“sales tactics: (i) Alexion purportedly relied on a team of in-house nurses . . . to pressure

patients and doctors”; (ii) the Company “encourage[ed] doctors to send patients’ tests to ‘partner

labs,’” which would share results with Alexion; and (iii) Alexion made “grants to patient

advocacy groups” to help obtain access to patient populations. (Id. ¶ 91.)

        From the five CW accounts, Plaintiffs have added to the New Complaint a number of

new paragraphs pertaining to Alexion’s “sales tactics.”                      But as Plaintiffs themselves

acknowledge, the CWs’ allegations did not cover new ground. Even according to Plaintiffs’

framing, the CWs’ accounts merely “corroborated” or “further detailed” allegations “already


Lancet 2182 (2009); Fabiola Sulpino Vieira & Paola Zucchi, Distortions to national drug policy caused by lawsui ts
in Brazil, 41 Revista de Saúde Pública 2 (2007).


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revealed to the investing public” in the May 2017 Bloomberg article. (Compl. ¶ 3.) Indeed, the

nine purportedly “illegal” 6 practices that Plaintiffs allege in the New Complaint are the “three”

categories of “improper and unethical sales tactics” alleged in the Prior Complaint, repackaged:

      • Lack of Organizational Firewall. Plaintiffs now allege that Alexion “fail[ed] to
        maintain a firewall between registered nurse case managers, [Regional Clinical
        Specialists], and the sales organization, contrary to standard industry practice.” (Compl.
        ¶ 237(a).) Plaintiffs previously alleged that “nurses reported directly to sales,” despite
        that “most drug companies, to avoid conflicts, maintain a firewall between their nurses
        and salespeople.” (Prior Compl. ¶ 94 (emphasis in original).)

      • Purported Pressuring of Physicians in Violation of PhRMA Code. Plaintiffs now allege
        that Alexion “pressur[ed] physicians . . . to place patients on Soliris in violation of [the]
        PhRMA Code.” (Compl. ¶ 237(b).) Plaintiffs previously alleged that “Managers stressed
        that sales staff needed to question doctors, many of whom had not seen patients with rare
        diseases, and to ‘transform no to yes’,” Prior Compl. ¶ 92, and that “Alexion’s sales
        representatives routinely engaged in unethical sales practices that violated the PhRMA
        Code,” id. ¶ 264.

      • Purported Pressuring of Nurses to Engage in Patient Care. Plaintiffs now allege that
        Alexion pressured its “registered nurses to intervene in patient care and scare patients and
        doctors into prescribing or continuing Soliris treatment.” (Compl. ¶ 237(c).) Plaintiffs
        previously alleged that “[i]f a patient had stopped taking Soliris, managers would
        question the nurse assigned to the patient and ask,” among other things, “whether the
        nurse told the patient that the patient could develop potential fatal blood clots if Soliris
        was no longer taken.” (Prior Compl. ¶ 95.)

      • Purported Pressuring of Patients to Switch Doctors. Plaintiffs now allege that Alexion
        “pressur[ed] patients to switch to a doctor who would prescribe Soliris.” (Compl.
        ¶ 237(d).) Plaintiffs previously alleged that, if a plaintiff stopped taking Soliris, assigned


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  The New Complaint also adds a number of paragraphs describing the guidelines, codes and laws that, according t o
Plaintiffs, the purported practices allegedly violated. These are not new factual allegations, but rather unsupp ort ed
conclusions regarding, in many instances, non-binding, aspirational “guidance.” The New Complain t alleg es, fo r
example, that “Alexion’s business practice of using nurses to educate patients” vio lat es t h e Office o f In s p ector
General’s (OIGs) guidelines on “White Coat Marketing.” (Compl. ¶¶ 76-78.) But Plaintiffs obscure that this
argument relies primarily on a 2011 OIG Advisory Opinion regarding the propriety of a specific circu ms t ance in
which seemingly independent physicians might have a financial interest in the type of medical hardware they were
prescribing. OIG Advisory Opinion No. 11-08, at 3. That raises concerns not present here—e.g., the “difficulty [in]
distinguishing between professional medical advice and a sales pitch,” Compl. ¶ 77. In another instance, Plain t iffs
cite a section of the PhRMA Code that generally provides that “company representatives must act with th e h ig hest
degree of professionalism and integrity.” (Id. ¶ 85.) This of course does not establish violations of law by Alexio n .
Similarly, Plaintiffs quote from several provisions of The Code of Ethics for Nurses, id. ¶ 87, which the Code it s elf
describe as “broad and noncontextual.” Code of Ethics for Nurses at viii. And while Plaintiffs theorize as t o h o w
Alexion might have abetted a HIPAA violation, Compl. ¶¶ 89-99, they cannot purport to have any knowledg e wit h
respect to various elements including, inter alia, patient authorization.


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         nurses would be asked “whether the nurse steered the patient to another doctor who
         would resume the treatment.” (Prior Compl. ¶ 95.)

        • Purported Maintenance of Confidential Patient Information. Plaintiffs now allege that
          Alexion maintained “confidential patient information for sales and marketing purposes.”
          (Compl. ¶ 237(e).) Plaintiffs previously alleged that “[s]ales staff . . . maintained detailed
          spreadsheets that included a wide range of information about potential patients, including
          dates of birth, information about symptoms, doctor, and hospital, and patients in some
          cases were identified by their initials.” (Prior Compl. ¶ 93.)

        • Relationships with Labs. Plaintiffs now allege that Alexion partnered with labs and
          provided them “with free testing reagent to use to test patients.” (Compl. ¶ 237(f).)
          Plaintiffs previously alleged that “Alexion improperly used ‘Partner Labs’ to identify
          potential customers,” that “Alexion worked to persuade doctors to test more frequently
          for PNH and aHUS,” and that “representatives were instructed to urge doctors to send
          tests to preferred ‘partner labs.’” (Prior Compl. ¶ 97.)

        • Purported Access to Test Results. Plaintiffs now allege that Alexion gained access to
          “patient information including confidential test results . . . in violation of HIPAA.”
          (Compl. ¶ 237(g).) Plaintiffs previously alleged that “preferred labs had agreements with
          Alexion to provide the Company with copies of the patients’ test results,” which “can
          constitute a serious violation of [HIPAA].” (Prior Compl. ¶¶ 98-99.)

        • Paying for Co-Pays. Plaintiffs now allege that Alexion paid co-pays for patients on
          “government funded insurance programs, through coordinated donations to charitable
          organizations.” (Compl. ¶ 237(h).) Plaintiffs previously alleged that Alexion was under
          investigation for its “support for charities that aid Medicare patients.” (Prior Compl.
          ¶ 109.)

        • AFAG Funding. Plaintiffs now allege that Alexion “fund[ed] Brazilian charitable
          organizations to file fraudulent lawsuits on behalf of patients seeking reimbursement . . .
          for Soliris treatments.” (Compl. ¶ 237(i).) As detailed above, Plaintiffs previously
          alleged that “some of the lawsuits funded by Alexion through its donations to AFAG
          were fraudulent.” (Prior Compl. ¶ 107.)

         As Defendants previously demonstrated, these “tactics” are the very same methods that

Alexion publicly described as enabling the Company to identify, diagnose and treat the small and

vulnerable PNH and aHUS populations. For example, and as outlined above:

    •    Alexion has described at length its motivation and efforts to educate doctors on the
         potentially devastating impact of PNH and aHUS, as well as its efforts to persuade
         doctors to prescribe Soliris when appropriate. (See supra pp. 4-8.) 7

7
 The Company has publicly disclosed its focus on disease awareness and diagnostic in it iat iv es o n a n u mb er o f
occasions. (See, e.g., Ex. 1 at 4 (“Our focus is on ultra-rare . . . . And because of this focus it is sometimes difficu lt


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    •    Alexion has described to investors the fact that it employs nurses to serve as case
         managers, and has specifically touted its OneSource program. (See supra pp. 9-10.)
    •    Alexion has disclosed the substantial health risks and side-effects associated with the
         cessation of Soliris treatments. (See supra p. 9.)
    •    Alexion outlined its diagnostic initiatives, including the fact that it “[d]eveloped lab
         partnerships,” and the need to interface with doctors regarding PNH and aHUS testing.
         (See supra pp. 8-9.)
    •    The Company also emphasized that such efforts were important, because the rarity of
         PNH and aHUS has created misconceptions regarding diagnosis and testing. (Id.) 8
    •    Alexion has also publicized its donations to PAOs, including by publishing a 2015 list
         that included the recipients and amounts of Alexion’s donations. (Id.; Ex. 10.)

    •    Alexion also disclosed that it has “financially supported non-profit organizations which
         assist patients in accessing treatment for PNH and aHUS.” (2013 10-K at 25, 5.)

    •    And Alexion disclosed to the public the investigations into its support for charities that
         aid Medicare Patients. (2016 10-K at 26.) 9

         Changes in Executive Leadership. Finally, Plaintiffs’ allegations regarding changes in

Alexion’s executive leadership are also substantively unchanged:

         On March 2, 2017, Alexion announced that Dr. Bell—who stepped down as CEO in

2015, Compl. ¶ 33—would retire as Chairman of the Board of Directors in May 2017. (See Ex.

11.) Dr. Bell explained that after 25 years with Alexion, he was “looking forward to spending


to see what we see when we bear down on an opportunity to make a meaningful difference for patients and families
with these diseases . . . . Most of the patients living with these diseases are not yet diagnosed. It’s a long game t h at
will take one physician at a time to identify these patients and help them receive the accurate diagnosis and
treatment they truly deserve”); see also id. at 16 (“When we meet a physicians [sic] and talk about o ur d is eases in
most cases they know very, very little about it . . . . And our job is to reset their knowledge ab out t ho se d is eases.
Once physicians have recognized the devastating nature of the disease they want to know how t o t est an d wh o t o
test. And this is why we have built critical capabilities in diagnostic initiatives, in testing to ensure that patients g et
rapid and accurate diagnosis. And patients are in need once they receive treatment to address their question s abo ut
what they want to know and in terms of funding and reimbursement”); David Hallal, Presentation at Barclays Global
Health Care Conference at 4 (Mar. 16, 2016) (“[W]e continue to educate on the genetic life-lo n g n ature o f aHUS
and we believe that, that’s helping physicians to greater appreciate the need for long-term treatment with Soliris.”).)
8
  Plaintiffs note, as they did previously, that in May 2017, Alexion temporarily halted certain of its “data gat herin g
practices” as the Company reviewed its “relationships with labs.” (Compl. ¶ 149.) Alexion later renewed its halt ed
practices, after making certain changes to its contracts with drug companies. (Id.)
9
 Because Defendants identified in their prior motion to dismiss that Alexion had disclosed all of these practices, the
New Complaint now concedes the Company’s disclosures, Compl. ¶¶ 68-72, while arguing these disclosures
“lack[ed] any concrete detail,” and thus failed to provide “the investing public” with a complet e p ict ure, i d . ¶ 73.
That argument fails for the reasons discussed below.


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increasing time with [his] family, and also exploring new and different opportunities.” (Id.)

          On March 27, 2017, Alexion hired Ludwig Hantson as permanent CEO. (Compl. ¶ 38.)

Not surprisingly, in the months that followed, Hantson installed his own leadership team. All of

the “additional resignations” that Plaintiffs highlight occurred after Hantson was installed as

permanent CEO. In May 2017, Hantson hired Brian Goff to succeed Carsten Thiel as Chief

Commercial Officer; replaced Martin Mackay as Head of Research & Development with John

Orloff; and hired Anne-Marie Law to serve as Chief Human Resources Officer. (See Ex. 12; Ex.

13.)      Hantson had worked with Goff, Orloff and Law at another pharmaceutical company,

Baxalta, where he previously served as CEO. (Ex. 13.) In early June 2017, Alexion also hired

Indrani Franchini as the new Chief Compliance Officer (replacing Ed Miller, who left in March

2017), and replaced David Anderson, the Company’s CFO, with Paul Clancy, who previously

served as CFO of Biogen. (See Press Release, Alexion Pharms., Inc., Alexion Names Paul

Clancy Chief Financial Officer (June 13, 2017).)

          The Complaint alleges that the timing of these changes in executive management is

suspicious.    (See Compl. ¶¶ 213-16.) The New Complaint, like its predecessor, again fails to

plead facts connecting the turnover to any misconduct. 10

                                                 ARGUMENT

I.        PLAINTIFFS’ CLAIMS FOR VIOLATION OF SECTION 10(b)
          OF THE EXCHANGE ACT AND RULE 10b-5(b) SHOULD BE DISMISSED

          To state a claim for a violation of Section 10(b) and Rule 10b-5(b), the plaintiff must

allege:     “(1) a material misrepresentation or omission by the defendant; (2) scienter; (3) a

connection between the misrepresentation or omission and the purchase or sale of a security;


10
  Like the Prior Complaint, the New Complaint cites to various analyst reports discussing the management changes,
Compl ¶¶ 213, 215. Although the New Complaint adds reference to an additional report, id. ¶ 215, neither that
report, or any other, ties any of the management changes to any misconduct, let alone securities fraud.


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(4) reliance upon the misrepresentation or omission; (5) economic loss; and (6) loss causation.”

Amgen Inc. v. Conn. Ret. Plan and Tr. Funds, 568 U.S. 455, 488 (2013) (quotation marks

omitted).     In addition, under Rule 9(b) and the PSLRA, Plaintiffs must plead fraud with

particularity. 15 U.S.C. § 78u–4(b)(1); Fed. R. Civ. P. 9(b); Mills v. Polar Molecular Corp, 12

F.3d 1170, 1175 (2d Cir. 1993) (a complaint alleging fraud must “(1) specify the statements that

the plaintiff contends were fraudulent, (2) identify the speaker, (3) state where and when the

statements were made, and (4) explain why the statements were fraudulent.”).

         A.       Plaintiffs Fail to Plead Materially False Statements

         Mirroring the Prior Complaint, Plaintiffs identify three types of alleged misstatements:

(i) statements pertaining to actual or projected Soliris sales; (ii) statements regarding Alexion’s

commitment to legal and ethical standards; and (iii) certifications made by Defendants pursuant

to the Sarbanes-Oxley Act (“SOX”). (Compl. ¶¶ 232-34.) Plaintiffs have made several cosmetic

changes to their Complaint:            de-emphasizing pull-in conduct and adding CW allegations that

repeat the Bloomberg article’s negative characterizations of Alexion’s business practices. But

these changes do not fix the Prior Complaint’s fatal flaws. Plaintiffs again fail to plead any

actionable materially false statements or omissions. 11

                  1.       Statements Pertaining to Actual or Projected Soliris Sales

         Plaintiffs again allege that Alexion “claim[ed] that the source of their impressive

financial results was due to Alexion’s ability to ‘identify new patients’ through presumably

lawful means, such as the Company’s ‘disease awareness and diagnostic programs.’” (Compl.

 163.) And Plaintiffs again assert that these claims were materially misleading because Alexion

did not disclose that its “results were made possible by the use of illegal and unethical sales

11
   While, as above, Alexion restated its certification regarding the adequacy of the Company’s internal controls over
financial reporting for 2015, that certification is not actionable under Section 10(b) for t h e reas o ns ad dressed in
Sections I.B, C, and D.


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practices.” (Id. ¶ 167.) As with the Prior Complaint, those purportedly “illegal and unethical

sales practices” appear to include (a) “pulling-in” sales; (b) conduct relating to the sale of Soliris

in Brazil; and (c) Alexion’s relationship with doctors, nurses, labs and charities. (See id. ¶¶ 191,

237(a)-(i).)    Plaintiffs, having failed to cure the Prior Complaint’ flaws, still have not pleaded

any facts to support their contention that Alexion’s statements materially misled investors.

                           (a)       “Pull-In” Conduct

          As described above, “pull-in” conduct was the Prior Complaint’s centerpiece. (Supra pp.

12-13.)     In moving to dismiss the Prior Complaint, Defendants identified that (i) “[t]here is

nothing inherently improper in pressing for sales to be made earlier than in the normal course,”

Gavish v. Revlon, Inc., No. 00 Civ. 7291 (SHS), 2004 WL 2210269, at *17 (S.D.N.Y. Sept. 30,

2004); and (ii) the conduct did not have any material impact on Alexion’s financial results.

          Following the Court’s statement that “it was preparing a ruling granting the Defendants’

Motion to Dismiss,” Dkt. 114, Plaintiffs substantially scaled back their pull-in allegations, to the

point that it is no longer clear whether they are continuing to allege that such conduct was the

basis for any alleged Defendant misstatements. (See supra pp. 2-3, 12-13.) 12 To the extent that

Plaintiffs do continue to assert claims based on that conduct, they have done nothing to

strengthen their prior allegations, and for the reasons identified in Defendants’ prior Motion to

Dismiss, have failed to adequately plead any material misstatements based on that conduct.

Defendants rely on the prior briefing for these arguments and authorities. (Dkt. 79-1 at 19-23;

Dkt. 99 at 2-4.)


12
  Plaintiffs’ have so drastically changed their framing, that they now claim that the Compan y’s d is clo sure o f it s
“pull-in” conduct was itself misleading because the Company failed to reveal the host of o t h er alleg ed ly illeg al
sales tactics. (E.g., Compl. ¶ 195.) However, revealing the results of a specific investigation by the Audit
Committee did not obligate the Company to disclose each and every sales tactic it employed. See Richman v.
Goldman Sachs Grp., Inc., 868 F. Supp. 2d 261, 274 (S.D.N.Y. 2012). Moreover, and in any event, for the reas ons
described herein, Alexion had either (i) already disclosed its use of the practices in questions or (ii) was u n d er n o
obligation to do so. (See infra pp. 25-27.)


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                          (b)     Alexion’s Operations in Brazil

        As in their Prior Complaint, Plaintiffs allege that Alexion’s purportedly undisclosed

“illegal and unethical” sales practices included Alexion’s purported funding of “Brazilian

charitable organizations to file fraudulent lawsuits on behalf of patients seeking reimbursement

from the Brazilian government for Soliris treatments, in violation of Brazilian law.” (Compl.

¶ 237(i).) Plaintiffs have made no changes to their factual allegations concerning Brazil in the

New Complaint. 13 For the same reasons articulated in Defendants’ original motion to dismiss

brief—and summarized below—Plaintiffs’ allegations fail. (See Dkt. 79-1 at 23-27.)

        No Misstatements: Plaintiffs have failed to allege that Alexion made any misstatements

regarding its conduct in Brazil for three independent reasons.

        First, Plaintiffs do not allege that Alexion’s reported financial results were false or

misleading as a result of the purported Brazilian conduct. Plaintiffs allegations of misconduct in

Brazil are based on a raid reportedly spurred by the allegedly improper prescription of Soliris to

a single patient (Compl. ¶ 204). The Complaint includes no facts that suggest that Defendants

reported sales of Soliris in Brazil that the Company never made, or that Defendants otherwise

mis-accounted for any Brazilian Soliris sales. “Absent an allegation that [the Company] reported

income that it did not actually receive, the allegation that a corporation properly reported income

that is alleged to have been, in part, improperly obtained is insufficient to impose Section 10(b)

liability.” In re Marsh & McLennan Cos. Inc. Sec. Litig., 501 F. Supp. 2d 452, 470 (S.D.N.Y.

2006). (See Dkt. 79-1 at 24.)

        Second, “when a securities fraud action rests on the failure to disclose uncharged illegal

conduct,” a plaintiff must “state a plausible claim that the underlying conduct occurred.”


13
  See Compl. ¶ 155 n.10 (noting that “all allegations” in the section on “Alexion’s Relationship with AFA G” were
drawn from the Bloomberg or Exame articles).


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Menaldi v. Och-Ziff Capital Mgmt. Grp. LLC, 164 F. Supp. 3d 568, 578 (S.D.N.Y. 2016).

Plaintiffs’ allegations of wrongdoing, however, are conclusory; the mere fact that the Company

may be under investigation is insufficient to support a claim that the Company actually engaged

in illegal or inappropriate conduct. (See Dkt. 79-1 at 24-25.)

        Third, even assuming that Plaintiffs had sufficiently alleged that Alexion engaged in

improper conduct, “[c]orporations do not, as a general matter, have a duty to disclose uncharged,

unadjudicated wrongdoing.” Menaldi, 164 F. Supp. 3d at 578 (quotation marks omitted). Such a

duty only arises in specific circumstances: (i) if a defendant puts at issue the cause of its

financial success but “fails to disclose that a material source of its success is the use of improper

or illegal business practices” or (ii) if Defendants “made specific statements that could be

interpreted as suggesting that the undisclosed improper activity alleged by plaintiffs was not

occurring.” In re FBR Inc. Sec. Litig., 544 F. Supp. 2d 346, 357-58 (S.D.N.Y. 2015). 14 No duty

to disclose arises here: it is implausible that Alexion could have received a “material source” of

its revenue from alleged Brazilian conduct involving, at most, eleven patients, Dkt. 79-1 at 25;

and plaintiffs have failed to plead a sufficient connection between Defendants’ public statements

and the purported Brazilian conduct that would render those public statements false, id. at 26.

        No Materiality.       Even if Plaintiffs had sufficiently alleged that the purported Brazilian

conduct was occurring and that Defendants had an obligation to disclose it, they have failed to

plead any facts that would support a conclusion that the Brazilian conduct “significantly altered

the total mix” of information and was thus material. Basic, 485 U.S. at 231-32. Information

regarding the Company’s operations in Brazil, its donations to PAOs and the judicialization

process have all been reported at length and for years, supra pp. 14-15, and thus cannot alter the

14
   A duty to disclose can also arise in a third circumstance: when “projections of future performance” are worded as
guarantees or are subjectively false. FBR, 544 F. Supp. 2d at 357. Plaintiffs have not identified statements
triggering that circumstance.


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“total mix of information made available.” In re Moody’s Corp. Sec. Litig., 274 F.R.D. 480, 489

(S.D.N.Y. 2011) (“Information already known to the market is immaterial.”). All that Plaintiffs

sought to add (in both the Prior and New Complaints) to this publicly-known information is that

a handful of patients, at most, may have been inappropriately prescribed Soliris in a country that

accounts, in total, for a small percentage of Alexion’s total revenues. That information could not

have “significantly altered the total mix of the information made available.”         Masters v.

GlaxoSmithKline, 271 F. App’x 46, 50–51 (2d Cir. 2008). (Dkt. 79-1 at 27.)

                      (c)        Alexion’s Relationship with
                                 Doctors, Nurses, Labs and Non-Profits

       Nearly all of the “new” allegations in the Complaint relate to Plaintiffs’ claim that

Alexion failed to disclose various “illegal and unethical sales practices” relating to the

Company’s relationships with doctors, nurses, labs and non-profits. (See Compl. ¶¶ 167; 237(a)-

(h).) In the Prior Complaint, Plaintiffs alleged—based entirely on claims made in the May 2017

Bloomberg article—that Alexion used “fear tactics and company-paid nurses to drive sales of

Soliris,” “improperly used ‘partner labs’ to identify potential customers,” and “funded patient

advocacy groups and engaged in related unethical business in Brazil.” (Prior Compl. ¶¶ 92-109.)

In an effort to give the appearance of material change, Plaintiffs have recategorized these same

allegations, and added anecdotal details from five CWs. (Supra pp. 15-18.) But adding more

negative characterizations of the purported sales practices already emphasized in the Prior

Complaint does not remedy that Complaint’s failings.      Plaintiffs still do not adequately allege

that Defendants made any material misstatements or omissions with respect to the Company’s

alleged practices.

       No Misstatement.      Plaintiffs fail to allege that Alexion made any misstatements or

omissions for several reasons.



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       First, Alexion has never restated any of its financial results and Plaintiffs do not and

cannot allege that the purported sales practices rendered false or misleading any of Alexion’s

reported financial information. “[I]t is clear that a violation of federal securities law cannot be

premised upon a company’s disclosure of accurate historical data.” Boca Raton Firefighters &

Police Pension Fund v. Bahash, 506 F. App’x 32, 38-39 (2d Cir. 2012) (quotation marks

omitted); Perez v. Higher One Holdings, Inc., No. 3:14 Civ. 755 (AWT), 2016 WL 6997160, at

*15 (D. Conn. Sept. 13, 2016) (no allegation “that [defendant’s] financial results were inaccurate

or not reported in accordance with generally accepted accounting principles, nor any other facts

that could show that the reporting of financial and operating results was false or misleading.”).

       Second, as described in detail above, supra pp. 15-18, the Bloomberg article and CW

accounts are just negative portrayals of efforts at identifying and treating PNH and aHUS

sufferers that the Company itself has routinely disclosed, pertaining to (i) “Disease Awareness”;

(ii) “Diagnostic Initiatives”; and (iii) “Patient Support.” The disclosures that the Company made

regarding its sales practices were thus sufficient to “put investors on notice during the class

period” of Alexion’s sales practices as alleged by the CWs and in the Bloomberg article. See In

re Sanofi Sec. Litig., 87 F. Supp. 3d 510, 547 (S.D.N.Y. 2015) (company that disclosed that its

product “presented serious and potentially fatal side effects” was “not obliged to reproduce a

comprehensive enumeration of adverse events every time they mentioned [drug’s] safety

profile.”); Abuhamdan v. Blyth, Inc., 9 F. Supp. 3d 175, 198 (D. Conn. 2014) (prior disclosures

sufficient to put investors on notice of “business model and the risks associated with that

model”).

       In response to this fact—which Defendants highlighted in their motion to dismiss the

Prior Complaint, Dkt. 79-1 at 28-29—Plaintiffs argue in the New Complaint that these




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disclosures were not adequate. Plaintiffs portray Defendants’ disclosures as “vague descriptions

and breezy assurances,” Compl. ¶ 71, that allegedly “gave no indication to the investing public”

that the “sales and marketing-related conduct that Defendants disclosed to investors and the

public” were, according to Plaintiffs, not “lawful and permissible ways for a pharmaceutical

company to promote and market its products,” id. ¶ 70.

       That was not true before, and is still not true now.        The fact that Alexion did not

“characterize its business model” in the light that Plaintiffs would have preferred does not mean

that its prior disclosures were not sufficient. In re ITT Educ. Servs. Sec. Litig., 859 F. Supp. 2d

572, 579 (S.D.N.Y. 2012); see also FIH, LLC v. Found. Capital Partners LLC, 176 F. Supp. 3d

52, 75 n.23 (D. Conn. 2016) (“[T]he securities laws do not require corporate management to

direct conclusory accusations at itself or to characterize its behavior in a pejorative manner.”)

(quotation marks omitted); Singh v. Schikan, 106 F. Supp. 3d 439, 448 (S.D.N.Y. 2015) (“[T]he

law is clear that companies need not depict facts in a negative or pejorative light or draw

negative inferences to have made adequate disclosures.”); In re MGT Capital Invs., Inc. Sec.

Litig., 16 Civ. 7415 (NRB), 2018 WL 1224945, at *11 (S.D.N.Y. Feb. 27, 2018) (“Companies

need not draw negative inferences or characterize their behavior in a pejorative way in order to

comply with the securities laws.”).

       What matters is that Defendants disclosed the core substance of its practices: intense,

aggressive efforts to identify potential Soliris users, test those users and educate doctors and

patients as to the value and import of initiating and maintaining Soliris treatment. That former

Alexion employees purportedly felt “pressure from sales,” Compl. ¶ 111, did not like how

Alexion was structured, id. ¶ 113, or felt uncomfortable with the language they were meant to

use with patients, id. ¶ 125, simply does not render Alexion’s disclosures about its sales efforts




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misleading or incomplete. See Singh, 106 F. Supp. 3d at 448; cf. Plumbers’ Union Local No. 12

Pension Fund v. Swiss Reinsurance Co., 753 F. Supp. 2d 166, 181 (S.D.N.Y. 2010) (“There is no

obligation for an issuer to identify specifically every type of asset or liability it possesses, so long

as its disclosures are ‘broad enough to cover’ all instruments that are in fact relevant to the value

of the issuer’s securities.”) (quotation marks omitted).

         Third, and relatedly, Plaintiffs assert that by “rais[ing] the issue of the cause of the

company’s success,” Defendants obligated themselves to “disclose information concerning the

source of its success,” including the Company’s alleged “reliance on illegal tactics.”                        (E.g.,

Compl. ¶ 237.) Alexion had no such disclosure duty. As an initial matter, Plaintiffs’ claim that

Alexion’s tactics were “illegal” is conclusory and unsupported. Supra p. 16 n.6; In re Axis

Capital Holdings Ltd. Sec. Litig., 456 F. Supp. 2d 576, 585 (S.D.N.Y. 2006) (If a “complaint

fails to allege facts which would establish . . . an illegal scheme, then the securities law claims

premised on the nondisclosure of the alleged scheme are fatally flawed.”). 15 Further, Plaintiffs

have not offered factual allegations to support that Alexion’s conduct was a material source of

Alexion’s success. FBR Inc., 544 F. Supp. 2d at 357-58. Indeed, there is nothing in the New

Complaint to support what impact (if any) the allegedly “illegal” conduct had on Alexion’s

performance.       (Infra pp. 29-30.)          Nor could any of Alexion’s misstatements have been

“interpreted as suggesting that the undisclosed improper activity alleged by plaintiffs was not

occurring.” FBR Inc., 544 F. Supp. 2d at 357-58; see also Schiro v. Cemex, S.A.B. de C.V., No.

18-cv-2352, 2019 WL 2066487, at *5 (S.D.N.Y. Jul. 12, 2019). The statements that Plaintiffs

allege were rendered false or misleading by Defendants’ sales conduct include, for example,


15
  See also In re Banco Bradesco S.A. Sec. Litig., 277 F. Supp. 3d 600, 632 (S.D.N.Y. 2017) (“Because the
gravamen of the amended complaint is that a series of unlawful bribery schemes over the co urse o f elev en y ears
rendered the challenged statements false or misleading, the Court must determine at the outset whether Plaintiff h as
adequately alleged any or all of those schemes.”).


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reports that the number of newly diagnosed patients “reflects” the “positive impact” of

Company’s “disease awareness and diagnostic initiatives,” or that Soliris sales had increased due

primarily to “increased physician demand globally for Soliris therapy.”    (E.g., Compl. ¶¶ 243,

250, 256.)   None of those statements is rendered false by Plaintiffs’ allegations about the

challenged practices.    Thus, because Defendants had no “duty to cure prior misleading

statements,” they were “under no duty to disclose its hyper-aggressive sales tactics . . . or to

characterize its business model . . . in a pejorative manner.” In re ITT, 859 F. Supp. 2d at 579;

Perez, 2016 WL 6997160, at *15; In re Cypress Semiconductor Sec. Litig., 891 F. Supp. 1369,

1381 (N.D. Cal. 1995).

       Finally, the New Complaint adds allegations related to the Company’s False Claims Act

settlement with the DOJ. (Compl. ¶¶ 148-54; 225-30.) But that settlement, which pertained to

the terms under which Alexion made donations to a single patient assistance organization,

Patient Services, Inc (PSI)—cannot be the basis for any misstatements or omissions. City of

Pontiac Policemen’s and Firemen’s Ret. Sys. v. UBS AG, 752 F.3d 173 (2d Cir. 2014).

       As Plaintiffs identified in their Prior Complaint, the Company promptly disclosed the

DOJ’s investigation to shareholders in January 2017. (Prior Compl. ¶ 109). Plaintiffs thus do

not contend that the Company misled its shareholders by concealing the investigation from them.

Nor does the settlement with the DOJ assist the Plaintiffs. Rather, the terms of the settlement

utterly fail to support any misstatement claim here.    The Company did not, in resolving the

investigation, admit any wrongdoing.   See Press Release, U.S. Department of Justice, Three

Pharmaceutical Companies Agree to Pay a Total of Over $122 Million to Resolve Allegations

That They Paid Kickbacks Through Co-Pay Assistance Foundations (April 4, 2019) (“The

claims resolved by the settlement are allegations only; there has been no determination of




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liability.”) Further, the resolution related not to the Company’s disclosures to shareholders, but

rather to conditions of the donations that Alexion made. (Id.) And, according to an article that

Plaintiffs     themselves      previously submitted as           supplemental authority, the          $13 million

settlement—0.3% of Alexion’s 2018 revenue 16—is significantly lower than amounts paid or

agreed to by other companies that were subject to similar investigations.                       (Dkt. 107-2 at 3

(reporting settlements of $360 million, $210 million, $57 million, $52.6 million and $23.85

million)). The settlement agreement shows, at most, that the Government made allegations about

donations to a single patient advocacy group, and Alexion resolved to settle rather than litigate.

See Waterford Twp. Police & Fire Ret. Sys. v. Smithtown Bancorp., Inc., No. 10–CV–864 (SLT)

(RER), 2014 WL 3569338, at *4 (E.D.N.Y. July 18, 2014) (“‘[A] consent judgment between a

federal agency and a private corporation which is not the result of an actual adjudication of any

of the issues . . . cannot be used as evidence in subsequent litigation between that corporation and

another party’ to prove liability.”) (quoting Lipsky v. Commonwealth United Corp., 551 F.2d

887, 893 (2d Cir. 1976)). None of Defendants’ public statements are rendered false due to the

DOJ’s unproven allegations.

           No Materiality: Plaintiffs have also failed to plead facts supporting the inference that any

purported misstatements were material.

           A misstatement or omission is material when there is “a substantial likelihood that the

[misstatement or the] disclosure of the omitted fact would have been viewed by the reasonable

investor as having significantly altered the total mix of information made available.” Matrixx

Initiatives, Inc. v. Siracusano, 563 U.S. 27, 38 (2011) (quotation marks omitted).                         Alleged

misstatements or omissions that correspond to a change in less than 5 percent of a company’s



16
     Alexion Pharms., Inc., Annual Report (Form 10-K) at 59 (Feb. 6, 2019) (2018 revenue $4.13 billion).


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financial statements are presumptively immaterial. In re Ply Gem Holdings, Inc. Sec. Litig., 135

F. Supp. 3d 145, 150 (S.D.N.Y. 2015).

         Defendants showed that the Prior Complaint did not include any facts that would suggest

that “disclosure of [the alleged] practices would have been material to a reasonable investor’s

valuation.” See In re One Commc’ns Corp., No. 07 Civ. 3905 (LTS) (AJP), 2009 WL 857535, at

*11 (S.D.N.Y. Mar. 31, 2009). The “new” CW allegations do not solve that problem. The New

Complaint still contains “no allegation, particularized or otherwise, concerning the extent of, or

extra revenues generated by, the[] allegedly improper practices, that would suggest that

disclosure of these practices would have been material to a reasonable investor’s valuation . . . in

light of the total mix of information made available.” Id.; FBR, 544 F. Supp. 2d at 357-58. 17

         Lacking any such factual allegations, Plaintiffs again fail to adequately plead materiality.

                  2.       Statements Regarding the Company’s Commitment to Legal and
                           Ethical Standards

         Plaintiffs allege, as before, that statements by Alexion regarding its adherence to ethical

standards were materially false and misleading. (Compl. ¶ 303.) While Plaintiffs have slightly

changed their theory as to why Alexion’s statements were misleading, the new allegations fail

for the same reason as did the prior ones: statements regarding adherence to ethical standards are

immaterial and non-actionable.

         As in their Prior Complaint, Plaintiffs claim that the statements in Alexion’s Codes of

Ethics that the company “complies with the PhRMA Code” were materially false. 18 The New


17
  While Plaintiffs describe the sales conduct as “pervasive,” Compl. ¶ 201, so too did the Prio r Co mp lain t , Prio r
Compl. ¶ 288. And the addition of the cumulative accounts from five former employees are particularly ineffect ive
in addressing the “materiality deficiencies,” given that, as Plaintiffs emphasize, the Bloomberg article was
purportedly based on “interviews with more than twenty current and former employees and a review o f mo re t h an
2,000 pages of internal documents.” (Compl. ¶ 218.)
18
  In the Prior Complaint, Plaintiffs also alleged that Alexion’s statements in its Codes of Et h ics t h at it co mp lied
with all applicable laws and regulations, including the Foreign Corrupt Practices Act, was materially fals e. (Prio r
Compl. ¶¶ 262-276.) Plaintiffs, conspicuously, have stripped that allegation from the Amended Complaint.


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Complaint was amended to cite to different provisions of the Code; in the Prior Complaint,

Plaintiffs claimed that Alexion violated Code sections 6, 7 and 13, Prior Compl. ¶ 264, but they

now focus on Code section 14, Compl. ¶ 307.                     That section “requires that pharmaceutical

company representatives act with the highest degree of professionalism and integrity.” (Id.) 19

         Regardless of the section of the Code allegedly implicated, these allegations fail to plead

a misstatement.         “Courts in this Circuit have found . . . general statements proclaiming

compliance with ethical and legal standards . . . to be non-material.” Perez, 2016 WL 6997160,

at *13; City of Brockton Ret. Sys. v. Avon Prods., Inc., No. 11 Civ. 4665 (PGG), 2014 WL

4832321, at *15 (S.D.N.Y. Sept. 29, 2014) (collecting cases). That is because these statements

are “so general that a reasonable investor would not depend on [them] as a guarantee that the

[defendant] would never take a step that might adversely affect its reputation.” ECA Local 134

IBEW Joint Pension Tr. of Chi. v. JP Morgan Chase Co., 553 F.3d 187, 206 (2d Cir. 2009);

Singh v. Cigna Corp., 918 F. 3d 57, 63 (2d Cir. 2019) (statement from a “Code of Ethics” a

“textbook example of ‘puffery’”); Fogel v. Vega, 759 F. App’x 18, 23 (2d Cir. 2018).

         This principle applies with particular force here. Plaintiffs claim that Defendants violated

Alexion’s Code of Ethics by breaching a cross-referenced rule of the PhRMA Code that

“requires that pharmaceutical company representatives act with the highest degree of

professionalism and integrity.” (Compl. ¶ 304) That statement is “precisely the type of vague,

boilerplate pronouncement[] that no reasonable investor would substantially rely upon . . . .” In

re ITT, 859 F. Supp. 2d at 581. 20


19
   The Complaint also references, at various points, section 1 of the PhRMA Code. To t h e ext en t t h at Plain t iffs
intend to allege that purported violations of that section—which notes that interactions with physicians “s hould b e
focused on informing health care professionals about products, providing scientific and educational information, and
supporting medical education,” Compl. ¶ 83—such an argument fails for the same reasons described herein.
20
   See also Gusinsky v. Barclays PLC, 944 F. Supp. 2d 279, 289 (S.D.N.Y. 2013) (aff’d in part, vacated i n p a rt o n
other grounds, remanded sub nom. Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC , 750 F.3d 227 (2d


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                  3.        Sarbanes-Oxley Act Certifications

           As   in their Prior Complaint, Plaintiffs allege that Defendants made material

misstatements by certifying, pursuant to SOX, that the Company had designed and evaluated

effective controls over financial reporting. (Compl. ¶¶ 308-17.) Plaintiffs have not made any

additions to their prior allegations.          Accordingly, Defendants’ restate their response from the

Prior Complaint:

           Based on the results of the Audit Committee’s investigation of the pull-in conduct, the

Company amended one securities filing: the Form 10-K for fiscal year ended December 31,

2015. 21     Plaintiffs have not established that SOX certifications pertaining to any of Alexion’s

other securities filings were materially false or misleading. 22

           SOX does not require attestation that no one at a company has ever engaged in any

potential wrongdoing.          SOX certifications rather pertain to the controls that a company has

established around disclosure and financial reporting. Aside from Defendant’s own revision in

Alexion’s January 17, 2017 amended 10-K about the “tone at the top” material weakness,

Plaintiffs have “not alleged any facts pertaining to the Company’s internal structure for financial

reporting, much less that [the Company] lacked adequate internal controls.” City of Monroe

Employees’ Ret. Sys. v. Hartford Fin. Servs. Grp., No. 10 Civ. 2835 (NRB), 2011 WL 4357368,

at *22 (S.D.N.Y. Sept. 19, 2011); La Pietra v. RREEF Am., L.L.C., 738 F. Supp. 2d 432, 443



Cir. 2014) (finding non-actionable statements regarding company’s legal compliance where company was alleged to
be actively violating laws, and noting that “[i]f this were sufficient, then every individual who purchased t h e s t ock
of a company that was later discovered to have broken any law could theoretically sue for frau d ”); In re UBS AG
Sec. Litig., No. 07 Civ. 11225 (RJS), 2012 WL 4471265, at *31, *36 (S.D.N.Y. Sept. 28, 2012) (statements
“concerning . . . compliance with legal and ethical standards” were puffery).
21
   As discussed in Sections I.B, I.C and I.D, Plaintiffs’ claims with respect to this certification fail for other reasons.
22
  Plaintiffs also allege that SOX certifications pertaining to securities filings made on February 10, 2014, A p ril 25,
2014, July 25, 2014, October 24, 2014, February 6, 2015 April 24, 2015, July 31, 2015, November 2, 2015, April
29, 2016, July 29, 2016, February 16, 2017, and April 27, 2017, referenced in section VII.C of the Complaint, were
false.


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(S.D.N.Y. 2010); Janbay v. Canadian Solar, Inc., No. 10 Civ. 4430 (RWS), 2012 WL 1080306,

at *9 (S.D.N.Y. Mar. 30, 2012). Since Plaintiffs’ “allegations of lack of controls . . . [are]

conclusory assertion[s] without any factual support,” they cannot survive this motion to dismiss.

La Pietra, 738 F. Supp. 3d at 443.

       B.      The Complaint Does Not Plead the
               Requisite Strong Inference of Fraudulent Intent

       “To meet the scienter requirement in a 10b-5 action under the PSLRA, a plaintiff must

‘state with particularity facts giving rise to a strong inference that the defendant acted with the

required state of mind.’” Empls.’ Ret. Sys. of Gov’t of the Virgin Islands v. Banford, 74 F.3d

297, 305 (2d Cir. 2015) (quoting 15 U.S.C. § 78u–4(b)(2)(A) (2010)). “The requisite state of

mind in a Rule 10b-5 action is an intent to deceive, manipulate or defraud.” Ganino v. Citizens

Utils. Co., 228 F.3d 154, 168 (2d. Cir. 2000) (quotation marks omitted).

       In Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 324 (2007), the Supreme

Court held that the “strong inference” of scienter must be “cogent and compelling,” such that “a

reasonable person would deem the inference of scienter cogent and at least as compelling as any

opposing inference one could draw from the facts alleged.” Further, Plaintiffs are required to

plead a strong inference of scienter as to each defendant. Plumbers & Pipefitters Nat’l Pension

Fund v. Orthofix Int’l N.V., 89 F. Supp. 3d 602, 614 (S.D.N.Y. 2015). “The requisite scienter

can be established by alleging facts to show either (1) that the defendants had the motive and

opportunity to commit fraud, or (2) strong circumstantial evidence of conscious misbehavior or

recklessness.” ECA, 553 F.3d at 198. When a plaintiff does not adequately allege a motive or

opportunity to commit fraud, “the strength of the circumstantial allegations [of scienter] must be

correspondingly greater.” Kalnit v. Eichler, 264 F.3d 313, 142 (2d Cir. 2001).

       In the Prior Complaint, Plaintiffs attempted to establish scienter through both the “motive



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and opportunity” and “circumstantial evidence” prongs. (Dkt. 79-1 at 34-48.) With respect to

the “motive and opportunity” prong, Plaintiffs alleged that:                (i) Alexion’s executive

compensation program provided the Individual Defendants “motivation to engage in illegal and

improper sales tactics to boost the Company’s revenue,” Prior Compl. ¶ 302; (ii) Alexion “relied

on the inflated value of Alexion shares to fund” the Company’s acquisition of Synageva, a

Massachusetts-based rare disease biopharmaceutical company, id. ¶ 294; and (iii) Dr. Bell’s sale

of Alexion Stock during the class period was probative of fraudulent intent, id. ¶¶ 297-300. With

respect to the “circumstantial evidence” prong, Plaintiffs claimed that their allegations

established the Individual Defendants’ conscious misbehavior or recklessness with respect to

(i) pull-in sales; (ii) the conduct in Brazil; (iii) other sales tactics (including those identified in

the Bloomberg article); and (iv) the Company’s SOX certifications.

       Defendants demonstrated that the allegations in the Prior Complaint were insufficient to

plead the requisite strong inference of fraudulent intent. (Dkt. 79-1 at 34-48; Dkt. 99 at 8-17.) In

response Plaintiffs have dropped from their New Complaint all allegations that any Defendant or

member of Alexion management had a motive or opportunity to commit fraud. With respect to

the “circumstantial evidence” prong, Plaintiffs’ “new” scienter allegations overwhelmingly relate

to the Company’s “sales tactics.” Those “new” allegations, are insufficient to create a “cogent

and compelling inference” that any Defendant (or other member of Alexion management)

intended to deceive, manipulate or defraud Alexion shareholders. Novak v. Kasaks, 216 F.3d

300, 312 (2d. Cir. 2000) (quotation marks omitted).

               1.      Plaintiffs Fail to Allege Scienter in Connection With “Pull-in” Sales

       As above, it is unclear whether Plaintiffs are continuing to pursue claims based on

Alexion’s “pull-in” conduct. (Supra pp. 2-3, 12-13.) To the extent that they are, they have,

again, plainly failed to adequately plead scienter with respect to that conduct. As Defendants


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previously argued, Dkt. 79-1 at 34-40, several courts in this Circuit—building from the well-

accepted premise that pull-ins are not inherently problematic, Gavish , 2004 WL 2210269, at

*17—have found similar allegations of scienter in “pull-in” cases to be inadequate, id.; In re

Bristol-Myers Squibb Securities Litigation, 312 F. Supp. 2d 549, 563 (S.D.N.Y. 2004). Plaintiffs

have only subtracted from their “pull-in”-related allegations. Thus, for the reasons articulated

before, Plaintiffs have failed to plead scienter with respect to any “pull-in”-related conduct.

       In the Prior Complaint, Plaintiffs also asserted various other theories to support scienter

with respect to the “pull-in” conduct, including: the Audit Committee’s “Tone at the Top”

finding, management departures, the Company’s executive compensation program, Dr. Bell’s

stock sales, the Synageva acquisition and the “core operations” theory. Following this Court’s

statement that it was prepared to dismiss the Prior Complaint, Plaintiffs jettisoned a majority of

these theories. While they continue to rely on the “Tone at the Top” finding, the departures of

Bell and Hallal, and the “core operations” theory, those arguments fail, just as they did before.

       “Tone at the Top.” When the Audit Committee announced in 2017 the results of its

investigation, it also announced that “senior management did not set an appropriate ‘tone at the

top.’” Ex. 6 at 25. In the Prior Complaint, Plaintiffs asserted, without support, that this “tone at

the top” finding pertained to all of Alexion’s purported “unethical marketing and sales

practices.”   But as Defendants identified, the press release announcing the investigation’s

findings stated that the investigation was “focused primarily” on “pull-in” sales, and referenced

“inappropriate business conduct” with respect to only one quarter, Q4 2015. Ex. 8 at 1. There

thus was not then and is not now any factual basis to construe the findings as broadly as

Plaintiffs claim they ought to be interpreted.

       Plaintiffs try, in the New Complaint, to buttress their prior allegations by adding generic




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descriptions of what a “tone at the top” means and what impact it could have. But the fact that,

for instance, Deloitte has generally described “tone at the top” as the “most important factor in

determining [an] organization’s resistance to bribery,” Compl. ¶ 320,” or that the Association of

Certified Fraud Examiners believes that “[w]hatever tone management sets will have a trickle-

down effect,” id. ¶ 321, say nothing of the Defendants’ states of mind here. These definitional

additions do not support that any Defendant intended to make misstatements to shareholders in

connection with the alleged conduct.

       Since the prior motion to dismiss was briefed, moreover, two different Courts of Appeal

found that similar “tone at the top” findings to those identified by Alexion’s Audit Committee

did not support a strong inference of scienter. In re Hertz Glob. Holdings, Inc. Sec. Litig., 905

F.3d 106, 119 (3d Cir. 2018); Alaska Elec. Pension Fund v. Asar, 768 F. App’x 175, 185 (5th

Cir. 2019); see also Matrix Capital Mgmt. Fund, LP v. BearingPoint, Inc., 576 F.3d 172, 183

(4th Cir. 2009). The reasoning behind these decisions—and the Fourth Circuit’s similar decision

from 2009—plainly confirms the inadequacy of Plaintiffs’ allegations. “At most,” a “tone at the

top” finding suggests that executives “presided over a poorly managed corporation.” Hertz, 905

F.3d at 118.   But “allegations of mismanagement will only support a securities fraud claim if

they are coupled with allegations that the defendants were aware, or recklessly disregarded, that

their mismanagement created an environment in which fraud was occurring.” Id. (emphasis

added); Matrix Capital Mgmt. Fund, 576 F.3d at 183 (“tone at the top” finding insufficient

because it “fail[ed] to suggest that defendants intentionally created an environment conducive to

accounting fraud” and rather only that “such an environment existed”) (emphasis added).

Regardless of the “trickle-down effect” that a “tone at the top” might have, the Audit

Committee’s finding does not add to an inference of scienter, because the New Complaint, like




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the prior one, “simply lacks sufficient allegations to compellingly imply that the Individual

Defendants knew or recklessly disregarded that their actions were resulting in” any fraudulent

conduct. Hertz, 905 F.3d at 118; Asar, 768 F. App’x at 185 (audit committee’s “tone at the top”

finding insufficient to support an inference of scienter because it was “equally credible that

[management] realized that the tone at the top was inappropriate only with hindsight”); Sohol v.

Yan, No. 1:15-cv-00393, 2016 WL 1704290, at *6–8 (N.D. Ohio 2016).

         Departures of Hallal and Sinha.                  Plaintiffs allege, as before, that the departures of

David Hallal and Vikas Sinha “support[ ] an inference of scienter.”                          (Compl. ¶ 332.)        And

Plaintiffs note, as before, that Hallal and Sinha departed approximately one month after Alexion

announced it was conducting an internal investigation, and cite several reports speculating of a

connection between the departures and the Audit Committee’s inquiry. (Id. ¶¶ 184-87.) 23

         Plaintiffs’ substantively identical allegations again fail because, once their unsupported

speculation is properly disregarded, the Complaint pleads no factual connections between

Hallal’s and Sinha’s departures and any fraud. See In re BISYS Sec. Litig., 397 F. Supp. 2d 430,

446-47 (S.D.N.Y. 2005) (no inference of scienter where plaintiffs “alleged no facts linking the

resignation[s] . . . to the accounting improprieties” at issue). Moreover, as Plaintiffs themselves

acknowledge, both Hallal (“for personal reasons”) and Sinha (“to pursue other opportunities”)

provided explanations for their departures, Compl. ¶ 53—explanations that Plaintiffs “make no

attempt to challenge.” BISYS, 397 F. Supp. 2d at 446-47. 24


23
   Plaintiffs previously alleged that the timing of the departures “strongly indicate that they left t h e Co mp an y as a
result of the [Audit Committee] investigation’s findings.” (Prior Compl. ¶ 291.) In an attempt t o recast (wit h o ut
changing) their prior deficient allegations, that allegation has now been removed. (See Compl. ¶ 332.) Bu t t o t h e
extent that Plaintiffs now seek to tie these departures to other sales conduct (i.e., conduct not addressed in the Audit
Committee’s findings), that argument is even less compelling than their prior, already deficient one. Such an
argument would be premised on a theory that (i) the alleged proximity between the Audit Committee’s investigation
and the departures is relevant, but (ii) the findings of that investigation are not. That is not coherent.
24
   The New Complaint adds several references to analyst reports that they had not included in their Prior Complain t ,
discussing Hallal’s and Sinha’s departures. (Compl. ¶ 187.) The speculation in those reports of a connection


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         But even assuming, arguendo, that there were additional reasons for Hallal’s and Sinha’s

departures beyond those that were announced, it does not follow that either departed because of

any efforts to defraud shareholders, as opposed to other possible issues. As many courts have

recognized, “there are any number of reasons that an executive might resign, most of which are

not related to fraud.” Id. Even allegations that executives resigned or were terminated as a result

of mismanagement do not suffice to plead scienter. Stambaugh v. Corrpro Cos., Inc., 116 F.

App’x 592, 598 (6th Cir. 2004) (resignations of chief financial officers most likely caused by a

long period of corporate mismanagement, not by fraud); N. Collier Fire Control & Rescue Dist.

Firefighter Pension Plan & Plymouth Cty. Ret. Ass’n v. MDC Partners, Inc., No. 15 Civ. 6034,

2016 WL 5794774, at *21 (S.D.N.Y. Sept. 30, 2016) (“The amended complaint simply contains

no allegations supporting an inference of fraud that is at least as compelling as an inference of

mismanagement or one of the myriad other reasons an executive might resign.”); Malin v. XL

Capital Ltd., 499 F. Supp. 2d 117, 161-62 (D. Conn. 2007) (“more likely that [defendants] were

terminated and resigned as a result of company mismanagement, not securities fraud”). 25

Further, even if the Complaint adequately alleged that Hallal’s and Sinha’s departures were

directly tied to the “tone at the top” finding by the Audit Committee (which it does not) or the

other purported conduct alleged by the CWs, such an allegation would not suffice to plead the

requisite intent to defraud shareholders.             Glaser v. The9, Ltd., 772 F. Supp. 2d 573, 598

(S.D.N.Y. 2011) (“[E]ven if both (1) [the company] did have inadequate internal controls over

financial reporting, and (2) [defendants’] resignations were actually tied to those inadequacies,

plaintiffs still have not come close to connecting those resignations to the fraud alleged in this

between the investigation and the departures is cumulative of the speculative reports included in the Prior
Complaint. And while one report interprets “comments from the company’s former CEO,” those comments
reference, inter alia, “frustration with the progress and operational execution at the Company,” not fraud. (Id.)
25
   For the reasons described herein, the CWs’ allegations regarding Hallal do not support an inference of fraud , an d
thus cannot support that his resignation was in any way fraud-related. See infra pp.43-47.


                                                                                                                   38
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case.”). 26

         “Core Operations” Theory.                    Finally, Plaintiffs assert, again, that “the Individual

Defendants’ knowledge of the[ ] practices with respect to the sales of Soliris can be inferred

because these facts are critical to Alexion’s core operations.”                       (Compl. ¶ 334.) This claim,

virtually unchanged from the Prior Complaint, again fails.

         The “core operations” doctrine is premised on conclusory assumptions about an

individual’s state of mind, not the particularized facts the PSLRA requires. Numerous courts

within this Circuit have thus declined to recognize the doctrine’s viability. See, e.g., Shemian v.

Research in Motion Ltd., No. 11 Civ. 4068 (RJS), 2013 WL 1285779, at *18 (S.D.N.Y. Mar. 29,

2013) (“[T]his Court has carefully considered the continued viability of the ‘core operations’

inference in light of the PSLRA’s heightened pleading requirement and found it lacking.”) 27 At

most, courts have considered “‘core operations’ allegations to constitute supplementary but not

independently sufficient means to plead scienter.” Wachovia, 753 F. Supp. 2d at 353.

         Even assuming that the “core operations” theory could supplement an inference of


26
   In prior briefing, Plaintiffs cited several cases in which courts found that resignations added t o an in ference o f
scienter. (Dkt. 86 at 38-39.) As Defendants argued, those cases are inapposite because in those cases, unlike h ere,
the circumstances suggested that the departing employees were engaged in an underlying fraud. See In re
Electrobras Sec. Litig., 245 F. Supp. 3d 450, 469 (S.D.N.Y. 2017) (CEO was replaced “because of the fin d in gs o f
. . . the internal investigation” which implicated him in the underlying fraud); Ho v. Duoyuan Glob. Water, Inc., 887
F. Supp. 2d 547, 575 (S.D.N.Y. 2012) (CFO’s departure added to inference “when considered in conju nctio n wit h
the rest of Plaintiffs’ allegations,” e.g., that company’s financial statements were substantially inflated); In re S a l ix
Pharms., Ltd., No. 14-cv-8925 (KWF), 2016 WL 1629341, at *15 (S.D.N.Y. Apr. 22, 2016) (the “resignations
[were] . . . highly unusual or suspicious” given specific nature of departures and the fact th at t h e comp any “lat er
issued restatements of its financial statements”) (quotation omitted); In re Adaptive Broadband Sec. Li t ig ., No 01-
cv-1092, 2002 WL 989478, at *14 (N.D. Cal. Apr. 2, 2002) (departures “as [Company’s] financials were being
restated” added to inference).
27
   See also, e.g., In re BioScrip, Inc. Sec. Litig., 95 F. Supp. 3d 711, 738 (S.D.N.Y. 2015) (“[M]erely noting t hat an
area of business was vital to a company does not dispose of the general requiremen t t h at Plain t iffs alleg e fact s
available to Defendants that would have illuminated the falsities”) (internal quotation marks omitted); In re
Wachovia Equity Sec. Litig., 753 F. Supp. 2d 326, 353 (S.D.N.Y. 2011) (“[T]he plain language of th e PSLRA . . .
would seem to limit the force of general allegations about core company operations.”); Brecher v. C i t ig ro up In c.,
797 F. Supp. 2d 354, 371 (S.D.N.Y. 2011) (“In light of the [PSLRA’s] heightened pleading standards, imputing
knowledge based simply on the fact that the fraud concerned a firm’s core operations is highly doubtful.”), va ca ted
on other grounds, No. 09 Civ. 7359(SHS), 2011 WL 5525353 (S.D.N.Y. Nov. 14, 2011).


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scienter, that would not help Plaintiffs here. First, for the reasons identified herein, “plaintiffs

present no other evidence supporting an inference that defendants were aware of contradictory

facts when they made their statements,” Glaser, 772 F. Supp. 2d at 596—i.e., there is no

inference of scienter to supplement.

       Second, although Plaintiffs have alleged that Soliris is critical to the Company’s success,

they have not adequately alleged that the specific conduct at issue (i.e., the sales practices) were

a “core operation” of the Company. None of Plaintiffs’ allegations has any bearing on Soliris’

effectiveness or its transformative impact in treating ultra-rare diseases and saving patients’

lives. As such, the core operations theory has no application here. See Bd. of Trs. of City of Ft.

Lauderdale Gen. Emps. Ret. Sys. v. Mechel OAO, 811 F. Supp. 2d 853, 872-73 (S.D.N.Y. 2011)

(although plaintiffs alleged that “coking coal concentrate sales” were significant to defendant’s

business, because plaintiffs failed to “supply supporting allegations about the significance of

[defendant’s] contracting and pricing decisions . . . to the Company’s core business,” the “core

operations” inference was inapplicable); Shemian, 2013 WL 1285779, at *18 (rejecting

application of theory where plaintiff’s argument “relie[d] entirely on the centrality of BlackBerry

devices to RIM’s operations”); In re OSG Sec. Litig., 971 F. Supp. 2d 387, 409 (S.D.N.Y. 2013)

(“The Company’s core operation is shipping, not tax policy.”).

               2.      Plaintiffs Fail to Allege Scienter in Connection
                       with Brazilian Sales of Soliris

       Plaintiffs allege, as in their Prior Complaint, that Defendants defrauded shareholders in

statements about the Company’s Brazilian operations, which allegedly misrepresented or failed

to disclose that the Company relied on illegal and improper sales tactics in Brazil. (E.g., Compl.

¶ 237(c).) These allegations are effectively unchanged from the deficient allegations in the Prior

Complaint and thus again fail to plead a strong inference of scienter for the same reasons,



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reasserted below, that Defendants previously articulated.

         As an initial matter, as in the Prior Complaint, Plaintiffs still do not adequately allege that

any of the Company’s efforts in Brazil were improper, much less that the Individual Defendants

were aware of any such tactics prior to the May 2017 raid by Brazilian authorities. The mere

fact that Brazilian authorities “raided” Alexion’s Brazilian offices does not suffice to plead that

Defendants engaged in a knowing attempt to deceive shareholders about sales practices in Brazil.

Authorities are purportedly investigating whether a handful of patients, at most, may have been

inappropriately prescribed Soliris in a country that accounts for a small percentage of Alexion’s

total revenues.       (David Hallal, Martin Mackay, and Vikas Sinha, Presentation at J.P. Morgan

Health Care Conference at 9.) Alexion, moreover, is a company with operations in 50 countries,

and is subject to numerous regulations. The allegations regarding the Brazilian investigation do

not suggest that any of the Defendants engaged in securities fraud. Lipow v. Net1 UEPS Techs.,

Inc., 131 F. Supp. 3d 144, 167 (S.D.N.Y. 2015) (“[G]overnment investigations cannot bolster

allegations of scienter that do not exist, and, as currently plead, the government investigations

are just that, investigations.”); Patel v. L–3 Commc’ns Holdings Inc., No. 14 Civ. 6038 (VEC),

2016 WL 1629325, at *10 n.31 (S.D.N.Y. Apr. 21, 2016) (“[g]overnment investigations on their

own do not create a strong inference of scienter”); In re Manulife Fin. Corp. Sec. Litig., 276

F.R.D. 87, 102 (S.D.N.Y. 2011) (“[T]he fact that a regulator is fulfilling [its] role cannot be

sufficient to allege scienter.”). 28

         Plaintiffs also again allege, again apparently on the basis of the May 24, 2017 Bloomberg
28
  Plaintiffs previously argued that some courts have considered investigations to be “one piece of the puzzle” wh en
assessing scienter. (Dkt. 86 at 43-44.) But even if government investigations can, in some circumstances,
contribute to an inference of scienter, Plaintiffs still have not pleaded any facts to suggest that the investigations into
Alexion’s operations are probative here. Among other things, Plaintiffs still have not made factual allegation s t hat
would support that any Defendants participated in (or were even aware of) the conduct being investigated, an d t h e
investigations remain unresolved. See In re ITT Educ. Servs. Sec. Litig., 34 F. Supp. 3d 298, 309 (S.D.N.Y. 2015)
(government investigations not probative when “not clear whether, or how much, each investigation hinged o n t h e
Defendants’ state[] of mind”).


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article, that “an outside law firm” concluded that certain of Alexion’s practices in Brazil were

“unethical.” (Compl. ¶ 161.) As a preliminary point, engaging in a purportedly unethical sales

practice is not tantamount to securities fraud. (Infra pp. 43-47.) In any event, a claim that any

such practices were undertaken with the requisite fraudulent intent must be “specifically

alleged.” Novak, 216 F.3d at 308. The New Complaint, like the Prior Complaint, contains no

allegation that any of the Individual Defendants read the purported “report,” let alone that any

Individual Defendant, after reading the report, made a knowingly false statement regarding

Alexion’s practices in Brazil. The alleged existence of this legal report thus does not support

Plaintiffs’ scienter allegations. Steinberg v. Ericsson LM Tel. Co., No. 07 Civ. 9615 (RPP), 2008

WL 5170640, at *13 (S.D.N.Y. Dec. 10, 2008) (no scienter where “the Complaint fails to

identify any reports Defendants . . . saw”); Gissin v. Endres, 739 F. Supp. 2d 488, 503 (S.D.N.Y.

2010) (plaintiff must “specifically allege defendants’ knowledge of facts or access to information

contradicting defendants’ public statements,” or that they “failed to check information they had a

duty to monitor”).

       Finally, Plaintiffs again attempt to connect the “proximity” of the changes in the

Company’s leadership in late May and early June 2017 to the news that Alexion’s São Paolo

office was “raided.” (Compl. ¶ 333.) The Complaint, however, lacks any factual allegation that

links the Brazil investigation to the new management team.       “[I]n the absence of a specific

allegation that the resignation[s] resulted from the [employees’] wrongdoing,” resignations or

departures do not “raise[ ] an inference of scienter.” BISYS, 397 F. Supp. 2d at 446. To the

contrary, it is clear from Alexion’s announcement that Ludwig Hantson, Alexion’s new CEO,

made a decision to augment his management team with, among others, three senior executives

(the Heads of the Commercial Unit, R&D, and HR) who previously worked with him at another




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company. (See Ex. 12; Ex. 13). The logical inference, of course, is that the Company’s newly-

installed CEO hired a new team of senior managers to support his mission—and not that

unspecified wrongdoing had been discovered in Brazil. Gissin 739 F. Supp. 2d at 514 (“Taken

collectively, the facts alleged provide a ‘plausible non-culpable explanation[ ] for the

defendant[’s] conduct’ that is more compelling than the inference of fraudulent intent”).

               3.     Plaintiffs Fail to Allege Scienter in Connection with Any Other Sales
                      Practices, Including Those Discussed in the Bloomberg Article

       Plaintiffs also claim that Defendants defrauded shareholders by misrepresenting in or

omitting from public statements purportedly “illicit and aggressive sales practices,” including the

practices alleged both in a May 24, 2017 Bloomberg article and by the CWs. (Compl. ¶ 89.)

       When Plaintiffs raised very similar allegations in the Prior Complaint, Defendants

explained that the most that Plaintiffs had shown was that certain anonymous sources asserted

that Alexion employees engaged in aggressive sales tactics. Plaintiffs now seek to augment their

prior allegations, primarily through CW accounts. But, as detailed above, the CWs merely allege

more details about the conduct that was already challenged in the Bloomberg article.           The

additional detail does not show that any Alexion executives intended to commit securities fraud.

       A plaintiff may, when certain conditions are met, seek to “buttress an argument for strong

circumstantial evidence with information obtained from confidential sources.” Glaser, 772 F.

Supp. 2d at 589. Such CW testimony, however, does not add to any inference of scienter when it

merely “parrots the conclusory allegations contained in the complaint.” In re Sierra Wireless,

Inc. Sec. Litig., 482 F. Supp. 2d 365, 376 (S.D.N.Y. 2007). And, “as with all allegations going to

scienter,” in order to be probative, “confidential source allegations must show that individual

defendants actually possessed the knowledge highlighting the falsity of public statements.”

Glaser, 772 F. Supp. 2d at 589 (emphasis added); Campo v. Sears Holdings Corp., 371 Fed.



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Appx. 212, 217 (2d Cir. 2010). The “new” CW allegations do not meet these requirements.

       Plaintiffs claim, on the strength of the CW allegations, that Bell and Hallal (1) “directed”

a purportedly “illegal sales culture”; (2) “were in charge of the relationships with partner labs;”

and (3) “were responsible for the illegal conduct with PSI,” the non-for-profit organization

referenced in Alexion’s recent regulatory settlement.       (Compl. ¶¶ 323-29.)      But Plaintiffs’

characterizations are not supported by the CW’s actual allegations, or anything else. And those

allegations are simply insufficient to prove that either Bell or Hallal (or any other member of

Alexion management) acted with the requisite intent.

       Plaintiffs’ first problem is that their “conclusory” framing of their CWs’ allegations is not

supported by fact. See Sierra Wireless, 482 F. Supp. 2d at 376. For example, while Plaintiffs

argue CW 1 “made clear” that “unlawful conduct” was “directed by Defendants Bell and

Hallal,” Compl. ¶ 323, what CW 1 actually alleged was that: s/he experienced “pressure from

sales,” id. ¶ 113; had to “justify” to management when patients “came off Soliris,” id. ¶ 121; the

“scripts to use with patients came from corporate executives,” id. ¶¶ 124, 129; and nurses were

instructed to “plant a seed” with patients if their doctors would not prescribe them Soliris, id.

¶ 130. Likewise, while the same CW alleged that Bell and Hallal were “responsible for making

. . . deals” with partner labs, id. ¶ 139, no CW alleges what that responsibility entailed or that

either was responsible for any inappropriate lab-related conduct. Finally, while Plaintiffs make

the conclusory claim that “Bell and Hallal were responsible for the illegal conduct with PSI,” id.

¶ 328, what the CWs actually alleged was that Bell and Hallal were at meetings “in which it was

discussed that Alexion was matching [with donations] whatever the patient needed,” id. ¶ 149. It

is black-letter law that Plaintiffs’ characterization of the CWs’ purported allegations are afforded

no weight.    E.g., In re Sanofi Sec. Litig., 155 F. Supp. 3d 386, 399 (S.D.N.Y. 2016)




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(characterization rejected where plaintiff did “not plead any non-conclusory basis” for it).

         The CWs’ actual allegations have a core defect: they fail to establish that the executives

“knew that their disclosures were false or misleading.” Penn. Public Sch. Emps.’ Ret. Sys. v.

Bank of Am., 874 F. Supp. 2d 341, 359 (S.D.N.Y. 2012). That is to be expected given the nature

of the CWs’ roles:           generally relatively low-level, and relating to Soliris sales and patient

support. None of the CWs purports to have had any participation in any of the SEC filings, press

releases or other public statements that Plaintiffs allege are false. They rather purport to have

interacted with Dr. Bell and Hallal in a sales capacity. But the allegation that these executives

might have been “involved in making deals with Partner Labs” or attended or participated in

meetings in which patient treatment or patient assistance programs were discussed supports, at

most, that the Defendants might have been “aware of risks” associated with the practices. Id. It

does not provide any insight into their states of mind, much less show that “they knew that their

disclosures” relating to the source of the Company’s success “were false or misleading.” 29 Id.;

In re Gentiva Sec. Litig., 932 F. Supp. 2d 352, 364 (E.D.N.Y. 2013) (knowledge of the

company’s number of therapy visits and corresponding profits “does not equate to harboring a

mental state to deceive, manipulate, or defraud.”) (quotation marks omitted); In re Am. Express

Co. Sec. Litig.,No. 02 Civ. 5533(WHP), 2008 WL 4501928, at *7 (S.D.N.Y. Sept. 26, 2008)

(allegations that management was aware of risks associated with high yield debt not sufficient to

establish that company was not properly valuing its debt). 30


29
   Plaintiffs not only had to establish that the defendants had contradictory information, but also that they h ad s uch
information “at the same time they made their misleading statements.” In re Marsh & Mclennan, 501 F. Supp. 2d at
484. Plaintiffs nowhere allege when any of the CWs’ alleged interactions with Alexion management occurred. As a
result, it is not possible to determine what information any Defendant knew when any challenged stat emen ts were
made, which is yet another basis for dismissal. See In re PXRE Group, 600 F. Supp. 2d 510, 537 (S.D.N.Y. 2009)
(insufficient allegations of scienter where plaintiffs failed to allege “that the information was available at t h e same
time that Defendants made the challenged statements”).
30
   See also In re PXRE Group, Ltd., Sec. Litig., 600 F. Supp. 2d at 536 (no scienter where plaintiff “fail[ed] to alleg e
that Defendants had knowledge of specific contradictory information”); Coronel v. Quanta Capital Hold ing s Lt d .,


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        Nor do the allegations that executives aggressively pursued sales of Soliris to patients

suffering from the diseases that Soliris treats prove any intent to defraud shareholders. As the

Second Circuit has explained, it is corporate management’s duty to drive profits for the

shareholders’ benefit, and a “desire to maximize the corporation’s profits does not strengthen the

inference of an intent to defraud.” ECA, 553 F.3d at 200. As a result, aggressive sales practices

“do not by themselves raise a strong inference of scienter.” Gavish, 2004 WL 2210269, at *19;

In re CRM Holdings, Ltd. Sec. Litig., No. 10 Civ. 975 (RPP), 2012 WL 1646888, at *29

(S.D.N.Y. May 10, 2012) (focus on Company’s growth “not evidence of an intent to deceive,

manipulate or defraud with respect to the company’s financial well-being”); Bristol-Myers

Squibb Sec. Litig., 312 F. Supp. 2d at 549 (“[O]ffering incentives to meet goals, aggressive or

not, is not suspect when. . . real products were shipped to real customers who then paid with real

money.”); Janbay, 2013 WL 1287326 at * 12 (allegation that executive ‘wanted to clear

inventory” does not “establish knowledge of any impropriety, but suggests a desire to sell the

Company’s product”).

        Finally, Alexion’s recent settlement with the Department of Justice, alone and when

coupled with the CWs’ allegations, does not support any inference of scienter. The DOJ alleged

in the settlement agreement that: (i) Alexion’s assistance to patients through PSI was allegedly

contingent on the patients taking Soliris; and (ii) Alexion allegedly referred Medicare patients to

PSI, rather than to Alexion’s free drug program. (DOJ Settlement at 2-3.)

        As described above, the Company publicly disclosed both (i) that it supports

organizations that “assist patients whose insurance coverage leaves them with prohibitive co-

payment amounts,” 2015 10-K at 29, and (ii) the fact of the DOJ’s investigation, supra p. 18.

No. 07 Civ. 1405 (RPP), 2009 WL 174656, at *16, *26 n. 14 (S.D.N.Y. Jan. 26, 2009) (“To establish scienter in
misrepresentation cases, facts must be alleged which particularize how and why each defendant act ually kn ew, o r
was reckless in not knowing, that the statements were false at the time made.”).


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Crucially, the CWs’ allegations do not speak at all to Dr. Bell or Hallal’s knowledge—much less

direction—of the conditions of such support. Those conditions—i.e., that PSI “would not use

Alexion’s donations on patients who were not starting or maintaining Soliris therapy” and that

“Alexion referred Medicare patients prescribed Soliris to PSI” in order to “generate revenue

from Medicare”—are the DOJ’s central allegations. The CWs’ claims that Bell and Hallal were

present at meetings in which “it was discussed that Alexion was matching [with donations]

whatever the patient needed,” supra p. 45, do not suggest that either knew anything more than

what the Company disclosed publicly—and certainly does not support that either intended to

defraud Alexion’s shareholders.            Finally, the DOJ settlement itself undercuts any finding of

scienter: the investigation was resolved for a relatively small amount without any admission of

wrongdoing by the Company or mention of any specific misconduct by Alexion management.

                  4.       Plaintiffs Fail to Allege Scienter in Connection
                           with the SOX Certifications

         Plaintiffs again claim that the SOX certifications signed by Individual Defendants Bell,

Hallal, Sinha, Brennan, Anderson and Hantson support an inference of scienter.                           Plaintiffs’

allegations with respect to these SOX certifications are substantively identical to the allegations

from the Prior Complaint. (Compare Compl. ¶¶ 308-17 with Prior Compl ¶¶ 277-86.) 31 Thus,

Plaintiffs’ SOX-related allegations fail again for the same reason Defendants previously

identified: Plaintiffs have not pleaded any facts to connect the signing of the Certifications to

any intent to defraud the Company’s shareholders.

        “The plaintiff cannot raise an inference of fraudulent intent based on the signing of a

certification without alleging any facts to show a concomitant awareness or of recklessness to the

31
  What allegations Plaintiffs have added elsewhere in the New Complaint in no way relate to Alexio n ’s “in t ernal
structure for financial reporting” or other disclosure controls or procedures—the focus of SOX certificat io n s—and
thus have no bearing on the Defendants’ states of mind with respect to the certifications. See Sano fi , 155 F. 3d at
402.


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materially misleading nature of the statements.” See Orthofix, 89 F. Supp. 3d at 615; see also

Thomas v. Shiloh Indus., Inc., 15 Civ. 7449 (KMW), 2017 WL 1102664, at *5 (S.D.N.Y. Mar.

23, 2017) (“Conclusory statements that defendants ‘consciously turned a blind eye’ to problems

with the company’s internal controls for financial reporting, absent any concrete, compelling

evidence to support the allegation, do not suffice to show scienter.”). There is also a significant

distinction between signing a certification concerning internal controls and making false

statements to defraud shareholders. As the Fourth Circuit has explained, “Defendants’ state-of-

mind with respect to the company’s internal controls is a question distinct from the critical

question here, which is defendants’ state-of-mind” regarding the alleged fraud at issue. Matrix

Capital Mgmt, 576 F.3d at 183.

       Plaintiffs here assert that the SOX certifications are false, but do not plead any facts to

establish the Individual Defendants’ requisite “concomitant awareness” of their alleged falsity.

(See Compl. ¶ 308.) Rather, Plaintiffs reference Ludwig Hantson’s statements on April 27, 2017

and May 16, 2017—shortly after he became CEO—that certain “systems and processes did not

keep up pace” as the Company grew, and that the Company was undertaking significant changes

regarding “the processes, marketing and sales practices.” (Id. ¶ 316.) But these post-facto

statements do not establish any “concomitant awareness.” And Hantson was not even employed

by Alexion when virtually all of the purported underlying conduct occurred. (See infra Section

I.C.) In any event, an observation from a company’s executive that, as the company has grown,

certain internal structures did not keep pace is not reflective of scienter. Novak, 216 F.3d at 309

(“Corporate officials need not be clairvoyant; . . . [t]hus, allegations that defendants should have

anticipated future events and made certain disclosures earlier than they actually did do not

suffice to make out a claim for securities fraud.”).        Plaintiffs thus fail to plead any facts




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supporting a strong inference of scienter with respect to the SOX certifications. 32

         C.        The Complaint Fails to Plead Fraud Against Any Individual Defendant

         Under the PSLRA, Plaintiffs are required to plead with particularity each element of their

Section 10(b) and Rule 10b-5(b) claim against each Individual Defendant, including specific

misstatements made by each Individual Defendant and facts supporting a strong inference of

scienter for each Individual Defendant. See In re Citigroup, Inc. Sec. Litig., 330 F. Supp. 2d 367,

381 (S.D.N.Y. 2004) (stating that a plaintiff “must allege that an officer or director ‘personally

knew of, or participated in, the fraud’” (quoting Mills, 12 F.4d at 1175)). As discussed above,

Plaintiffs fail to allege, with particularity, the falsity of statements made by Individual

Defendants or facts that call into question the speakers’ good faith belief in the truth of those

statements at the time they were made. 33                   Nor do Plaintiffs plead facts supporting a strong

inference of scienter as to any Individual Defendants.

         Hallal: Having dropped all allegations regarding motive, Plaintiffs allege that Hallal’s

purported fraudulent intent was primarily evidenced by (i) his SOX certifications; (ii) his

December 2016 departure; and (iii) the CWs’ allegations regarding his role in managing the

Company. (Compl. ¶¶ 323-29; 332.) 34 The SOX and departure allegations are recycled from the

deficient Prior Complaint, and remain insufficient to demonstrate scienter. See supra pp. 37-40;

32
   In addition, while SOX certifications relate to the accuracy of internal controls around financial rep o rt ing , i n fra
Section I.A.3, Hantson’s statement was plainly a reference to the Company’s broader systems and processes. (S ee
Earnings Call, Alexion Pharms., Inc. at 4 (Apr. 27, 2017).) Thus, Hantson’s statement cannot support an inference
for the certifications.
33
   Under section 10(b) and rule 10b-5(b), a defendant can only be liable for those statements or o mis sio ns t h at h e
himself makes. In Janus Capital Grp., Inc. v. First Derivative Traders, 564 U.S. 135 (2011), the Supreme Court
held that “[f]or purposes of Rule 10b–5, the maker of a statement is the person or entity with ultimate authority over
the statement, including its content and whether and how to communicate it.” Id. at 142.
34
  Plaintiffs also claim that the general “core operations theory” applies with particular force to Hallal b ecau se h e
“built and has headed up Alexion’s commercial team since 2006.” (Compl. ¶ 334.) However, scienter “cannot b e
inferred solely from the fact that, due to the defendant[’s] . . . executive managerial position, [he] had access t o . . .
adverse information.” Foley v. Transocean Ltd., 861 F. Supp. 2d 197, 212 (S.D.N.Y. 2012). In addition, Plain t iffs
reference at various points that certain practices ceased after Hallal left. (E.g., Compl. ¶ 126.) But because
Plaintiffs failed to plead that any of the practices were actionable, their cessation is immaterial.


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48-49.     And as described above, the CWs allege, at most, that Hallal applied pressure to

employees to ensure that as many PNH and aHUS patients be prescribed Soliris as possible,

made deals with labs and attended meetings where charitable contributions were discussed.

Encouraging sales of actual products to actual patients does not evidence fraudulent intent.

Bristol-Myers Squibb Securities Litigation, 312 F. Supp. 2d at 549.

         Dr. Bell. Like with Hallal, Plaintiffs dropped from their Prior Complaint two of their

primary scienter arguments pertaining to Dr. Bell—i.e., that his compensation and stock sales

gave rise to a motive and opportunity to defraud shareholders. With those allegations excised,

Plaintiffs primarily rely on (i) Dr. Bell’s SOX certifications; and (ii) the CWs’ allegations.

Those allegations against Dr. Bell fail for the same reasons that they do against Hallal.

         Remaining Individual Defendants: The New Complaint does not add new material

allegations of scienter with respect to any of the other Individual Defendants. Thus, for the

reasons argued before and re-asserted below, Plaintiffs’ claims against each remaining Defendant

fails:

•    Sinha: The only remaining allegations pertaining to Sinha’s state of mind are the insufficient

     allegations regarding his departure and that he signed certain SOX certifications.

•    Thiel:   Having dropped their “executive compensation” allegations, Plaintiffs make no

     specific allegations regarding Thiel’s purported intent.

•    Anderson and Brennan: Anderson was named CFO (to replace Sinha) and Brennan35 was

     named interim CEO (to replace Hallal) on December 12, 2016—after the Audit Committee

     investigation into the pull-ins had already commenced. There are no facts pleaded in the




35
  While Brennan was a member of Alexion’s Board prior to being named interim CEO, the Complaint is b ereft o f
any allegations that Brennan was involved in or knowledgeable of Alexion’s day-to-day operations in that role.


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     Complaint that connect Anderson or Brennan36 to the alleged fraud—whether pull-ins (which

     pre-dated their tenure), the sales practices identified in the Bloomberg article, or the

     government investigation in Brazil.

•    Hantson. Hantson was not named CEO until March 27, 2017, less than two months before

     the end of the class period. This allegation is insufficient. The Complaint does not contain

     any factual allegation suggesting that he had knowledge about the purported fraud. See, e.g.,

     Roth v. OfficeMax, Inc., No. 05 Civ. 236 (JBG), 2006 WL 2661009, at *6 (N.D. Ill. Sept. 13,

     2006) (because complaint did not indicate a basis for concluding that defendant who had

     been CEO for less than two months before an internal investigation was announced was

     aware of the allegedly improper conduct, scienter was not adequately pleaded).

        D.       The Complaint Does Not Adequately Allege
                 Causation With Respect To the Purported Misstatements

        The law is well established that, to state a claim under Section 10(b), Plaintiffs must do

more than plead that they bought at inflated prices and the stock declined after a statement

reporting negative news. See Richman v. Goldman Sachs Grp., Inc., 868 F. Supp. 2d 261, 282

(S.D.N.Y. 2012). Rather, to allege loss causation, Plaintiffs must plead “that the subject of the

fraudulent statement or omission was the cause of the actual loss suffered.” Lentell v. Merrill

Lynch & Co., Inc., 396 F.3d 161, 173 (2d Cir. 2005). If the connection is attenuated, or if the

plaintiff fails to “demonstrate a causal connection between the content of the alleged

misstatements or omissions and the harm actually suffered . . . a fraud claim will not lie.” Id. at

174 (quotation marks omitted).




36
  The Complaint alleges that in announcing the results of the Audit Committee’s investigation, Bren nan failed t o
disclose “other improper and illegal sales practices.” (Compl. ¶ 199.) As described above, that allegation is
without any merit. (Supra pp. 24-30.)


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         In an effort to expand their putative class period, Plaintiffs broadly identify six dates

between November 4, 2016 and May 24, 2017 on which Alexion purportedly revealed “the true

state of Alexion’s operations . . . to the investing public.” (Compl. ¶ 339.) Plaintiffs’ failure to

assert that the Defendants’ alleged fraud caused Plaintiffs’ losses is another basis for dismissal.

                  1.       Purported Corrective Disclosures of the Pull-ins
                           and “Tone at the Top” Material Weakness

         While it is not clear that Plaintiffs are still pursuing allegations related to “pull-in”

conduct, Plaintiffs still seek to recover on three stock drops that Plaintiffs previously claimed

were “pull-in” related. In particular, recognizing that Alexion’s stock price increased on January

4, 2017—the date the “pull-in” conduct and “tone at the top” material weakness were

disclosed—Plaintiffs appear to rely on other purported corrective disclosures:                       the delay in

Alexion’s filing of a 10-Q; the announcement of the Audit Committee investigation; and the

departures of Hallal and Sinha. 37 To the extent that Plaintiffs no longer allege “pull-in”-related

misstatements, they cannot seek to recover alleged “pull-in”-related stock drops. This is because

a plaintiff needs to show that “the misstatement or omission concealed something from the

market that, when disclosed, negatively affected the value of the security.” Lentell, 396 F.3d at

173 (emphasis added); In re Sec. Capital Assur., Ltd. Sec. Litig., 729 F. Supp. 2d 569, 601-602

(S.D.N.Y. 2010) (“Plaintiffs’ Complaint fails even to demonstrate a correlation between

‘revealed’ facts and a decline in . . . stock price.”).

         Each of the purported corrective disclosures fails for other, independent reasons, as well:

         Delay in Filing 10-Q on November 4 and 7, 2016. On November 4, 2016, an analyst at

37
  On January 4, 2017, Alexion announced the results of its Audit Committee’s sales practices investigatio n. Th is
January 4 announcement revealed to the market the practice by the Company of “pulling in” revenues, the
inappropriate business conduct in Q4 2015, and the “tone at the top” material weakness. But when these res ult s o f
the Audit Committee investigation were disclosed, the stock price did not decline. Rather, over the next t wo d ay s,
the Company’s stock price increased by over fifteen percent. (See Ex. 7.) Plaintiffs thus do not—and cannot—rely
on this announcement in proving loss causation.


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Leerink Partners LLC observed that the filing of Alexion’s 10-Q was delayed as compared to

prior years. (Compl. ¶ 171.) Alexion acknowledged the relative delay. (Id.) Alexion’s stock

dropped on November 4 and on the following Monday, November 7, which Plaintiffs attribute to

Leerink’s observation.    (Id. ¶ 172.)   The speculation regarding the timing of Alexion’s 10-Q,

however, did not constitute a corrective disclosure because the reports did not explain the basis

for the perceived delay or reveal any aspect of any alleged fraud, as is required for an

announcement to constitute a corrective disclosure. See In re Omnicom Grp., Inc. Sec. Litig.,

541 F. Supp. 2d 546, 551 (S.D.N.Y. 2008) (disclosure “must reveal some aspect” of “alleged

fraud”). The November 4 and 7 stock drops therefore are not actionable under Section 10(b).

       Announcement of Audit Committee Investigation on November 9, 2016.                       On

November 9, 2016, Alexion issued a press release confirming that it was delaying the filing of its

10-Q for the quarter ended September 30, 2016, and that its Audit Committee had commenced

an investigation into “whether Company personnel have engaged in sales practices that were

inconsistent with Company policies and procedures and the related disclosure and other

considerations raised by such practices.”      (Compl. ¶ 174.)   This announcement also did not

constitute a corrective disclosure.

       The November 9 announcement, which referred broadly to “sales practices” and “related

disclosure concerns raised by such practices” did not reveal the nature of the fraud that Plaintiffs

allege occurred.    It did not discuss “pull-ins” or “material weakness” or any other specific

practices that the Audit Committee was investigating.       Thus, the November 9 announcement

provided no indication to the market that the Company was investigating the sort of conduct

underlying Plaintiffs’ allegations in the Complaint.

       A disclosure that reveals an investigation into sales practices or transactions generally,




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without specifically identifying the type of allegedly fraudulent practice or transaction at issue, is

not a corrective disclosure. Police and Fire Ret. Sys. of City of Detroit v. SafeNet, Inc., 645 F.

Supp. 2d 210, 231 (S.D.N.Y. 2009) (finding that disclosure of a government or internal

investigation can constitute a corrective disclosure only when it “provide[s] notice to an investor

that [the defendant] had engaged in the type of specific fraudulent . . . practices that Plaintiffs

allege”); In re Take-Two Interactive Sec. Litig., 551 F. Supp. 2d 247, 284 (S.D.N.Y. 2008)

(disclosure of government investigation into “general compensation practices” insufficiently

linked to allegedly fraudulent “options-granting practices” to constitute a corrective disclosure);

Janbay, 2013 WL 1287326, at *14 (disclosure of SEC investigation into “certain sales

transactions in 2009” that “makes no mention of purported sham transactions or deficient

internal controls . . . cannot constitute a corrective disclosure or establish loss causation”).

Accordingly, the November 9, 2016 announcement is not an actionable corrective disclosure.

       Departures of Hallal and Sinha on December 12, 2016. Finally, Plaintiffs fall back on

the December 12, 2016 announcement of the departures of David Hallal and Vikas Sinha.

Plaintiffs have not pled any facts to link the departures to an alleged fraud, and Hallal’s and

Sinha’s departures were in fact attributed to non-fraudulent motivations. (Supra pp. 37-40.) As

a result, the announcement of these departures cannot constitute corrective disclosures.

Omnicom, 541 F. Supp. 2d at 553 (“[A] director’s resignation cannot constitute a corrective

disclosure when the resignation is not connected to the alleged fraud.”); SafeNet, 645 F. Supp. 2d

at 229 (announcement of CFO’s departure “not tied to any fraud, omission, or misstatement, and

it certainly made no reference to” the conduct at issue” and therefore “would not alert investors

to any improprieties so as to allege loss causation”).

       Plaintiffs try to overcome the lack of any established connection by arguing that news




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reports tied the departures to the “findings of the Company’s investigation.” (Compl. ¶¶ 184-

88.) But this argument is unavailing. The articles—including analyst speculation that Plaintiffs

added to the New Complaint, Compl. ¶ 187—do not disclose any new relevant facts; they just

paint the departures in a negative light and tie them to a previously-announced investigation.

See, e.g., id. (“We now believe the Board lost confidence . . . .”) “A negative journalistic

characterization of previously disclosed facts does not constitute a corrective disclosure of

anything but the journalists’ opinions.” In re Omnicom Grp., Inc. Sec. Litig., 597 F.3d 501, 512

(2d Cir. 2010); Cent. States, Se. and Sw. Areas Pension Fund v. Fed. Home Loan Mortg. Corp.,

543 F. App’x 72, 75 (2d Cir. 2013) (“At most, the cited third-party articles and reports expressed

negative opinions . . . based on information that was already publicly available.”).

                               *                  *                  *                 *

         In short, Alexion’s stock price did not decline (but increased) upon disclosure of the

“pull-in” conduct and “tone at the top” material weakness.                         Because the other purported

corrective disclosures did not reveal any falsity in a prior statement, the Complaint fails to plead

loss causation with respect to the alleged misstatements about “pull-ins” and “tone at the top.” 38

                  2.       Purported Corrective Disclosure of Brazilian Investigation

         On May 8, 2017, various news outlets reported that Alexion’s offices in São Paolo were

raided by Brazilian authorities in connection with a broader industry investigation into healthcare

fraud. (Compl. ¶ 202.) This announcement also does not constitute a corrective disclosure.

         Plaintiffs’ fraud claim regarding Alexion’s Brazilian sales practices is that Alexion

misled shareholders as to the source of its income in Brazil. The announcement of the raid,


38
  Plaintiffs also reference several additional events but do not appear to rely upon them as corrective d is clo sures,
including the announcement of Bell’s departure and Brennan’s statement regarding “tone at the top.” If p lain t iffs
contend in their opposition brief that there are additional disclosure dates, Defendants reserve the rig h t t o add ress
those arguments on reply.


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however, did not “reveal to the market some part of the truth regarding the alleged fraud.” Take-

Two, 551 F. Supp. 2d at 283.                As noted above, the Brazilian judicialization process and

Alexion’s relationship with AFAG were well known.                     (Supra pp. 14-15.) And although the

reports about the raid suggested that authorities were investigating whether one or more patients

may have been prescribed Soliris inappropriately, Alexion never made any statements to suggest

that no Soliris prescriptions reimbursed under the judicialization program could have been

improperly granted or obtained. (Supra Section I.A.1.b.) The announcement of the raid does not

constitute a corrective disclosure because it did not “reveal[ ] to the market that [Alexion’s] prior

statements were not entirely true or accurate.” Take-Two, 551 F. Supp. at 283. 39

                  3.       Purported Corrective Disclosure of Departures of
                           Anderson, Mackay, Carmichael

         On May 23, 2017, Alexion announced the departures of its Chief Commercial Officer,

Chief Financial Officer, Head of Research and Development, and Chief Human Resources

Officer, and the stock price declined. (Supra pp. 18-19.) As explained above, Plaintiffs do not

plead facts connecting these departures to the alleged fraud. (Supra Section I.C.) The departures

of Anderson, Mackay and Carmichael occurred several months after the Audit Committee had

announced the conclusion of its investigation, and there is no suggestion that these executives

had any involvement in the pull-ins or “tone at the top” findings that had been disclosed in

January.      The CFO Anderson was not even employed by Alexion at the time the Audit

Committee investigation commenced.



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   This case thus stands in contrast to cases in which the announcements of government investigations have
constituted corrective disclosures. In those cases, the announced investigations have focused on the precise sub ject
matter which forms the basis of the fraudulent practices it issue. See Take-Two, 551 F. Supp. at 283 (where alleg ed
fraud was based on stock option granting practices, announcement of investigation into such practices constitut ed a
corrective disclosure); SafeNet, 645 F. Supp. 2d at 231 (same); In re Gentiva Sec. Litig., 932 F. Su p p . 2d 352, 364
(E.D.N.Y. 2013) (where alleged fraud was based on improper government reimbursements, announcement of
investigation into Medicare reimbursement practices constituted a corrective disclosure).


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          Nor does the Complaint tie these departures to any other aspect of the alleged fraud.

Indeed, the Company’s May 23 announcement actually preceded the Bloomberg article’s

publication, defeating any inference that publication of the article could have prompted the

personnel changes. Likewise, the Complaint does not tie the departures to Alexion’s conduct in

Brazil, except for a passing reference to a J.P. Morgan analyst report that mentioned the

departures and the raid on Alexion’s São Paolo office in the same sentence (see Compl. ¶ 213)

but did not otherwise connect them.            (See Anupam Rama, Alexion Pharmaceuticals:

Downgrading to Neutral, J.P. MORGAN (May 23, 2017).) The Complaint also does not include

any suggestion that the executives were involved in the “sales practice” conduct during the

portions of the Class Period during which they were employed. The Complaint thus fails to

plead causation with respect to the announced departures of Anderson, Mackay and Carmichael.

                 4.     Purported Corrective Disclosures of Sales Practices
                        in the Bloomberg Article

          On May 24, 2017, Bloomberg released an article that critically assessed several of

Alexion’s sales practices. (Supra pp. 15-18.) As discussed in detail above, these sales practices

were openly discussed and disclosed by Alexion before and during the class period. (Supra pp.

17-18.)     For example, the Bloomberg article reported on Alexion’s “lab partnerships,” the

Company’s use of nurses as case managers, and the Company’s relationship with PAOs, all of

which Alexion had disclosed long before the Bloomberg article was published. (Id.) Since the

sales practices discussed in the article were previously known to the public, the only “revelation”

from the article was journalistic spin.     The article, therefore, cannot constitute a corrective

disclosure. Omnicom Grp., 597 F.3d at 512; Dalbert v. Xerox Corp., 766 F.3d 172, 188 (2d Cir.

2014); Cent. States, 543 F. App’x at 75.

          Plaintiffs assert that their “new” CW allegations “corroborate[ ]” the information in the



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Bloomberg article. (Compl. ¶ 3.) Not only are the “new” allegations duplicative of what was

previously pled, those allegations cannot have caused the losses that Plaintiffs seek to recover.

To the extent that the “new” allegations are actually “new,” they were revealed for the first time

in the New Complaint filed on May 31, 2019—over two years after the close of the Class

Period. 40 Thus, even if the CWs revealed materially different information—and they have not—

any such revelation could not have contributed to the losses that Plaintiffs are seeking to recover.

II.       PLAINTIFFS’ CLAIMS FOR VIOLATIONS OF SEC RULES
          10b-5(a) AND 10b-5(c) SHOULD BE DISMISSED

          In addition to again alleging that Defendants violated SEC Rule 10b-5(b), Plaintiffs have

added a claim under SEC Rules 10b-5(a) and 10b-5(c). (Compl. ¶ 366.)

          Whereas section (b) of Rule 10b-5 governs material misstatements or omissions, supra

pp. 19-20, Rule 10b-5(a) proscribes employing “any device, scheme, or artifice to defraud,” and

Rule 10b-5(c) proscribes engaging “any act, practice, or course of business” which would

“operate as a fraud or deceit.” See 17 C.F.R. § 240.10b-5. Plaintiffs argue that to prevail on the

new claim, they need not allege “that any of the Defendants made any misrepresentations or

omissions of material fact for which they may also be liable under Rule 10b-5(b).” (Compl.

¶ 366.)

          By adding this claim, Plaintiffs are presumably seeking to invoke the Supreme Court’s

recent decision in Lorenzo v. SEC, in which the Court held that a person who disseminates

materially misleading statements with the intent to defraud investors can be liable under Rules

Rule 10b-5(a) and Rule 10b-5(c), even if that person does not “make” a statement to investors.

139 S.Ct. 1094, 1099 (Mar. 27, 2019). But Lorenzo is no help to Plaintiffs. As an initial matter,


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  For the same reason, Plaintiffs’ allegations regarding the market’s view of Alexion’s prospects or the
announcement of Alexion’s regulatory settlement, Compl. ¶¶ 221-230—both of which post-dated the class period—
cannot establish causation.


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Lorenzo arose in a very unusual fact pattern where the defendant disseminated misstatements he

knew were false, but that he happened to attribute to his boss. Id. at 1097-99. This case does not

involve any such deflection or attribution of false statements to another party. Moreover, the

only allegedly fraudulent conduct directed at shareholder plaintiffs is the purported making of

false and misleading statements or omissions.      (See Am. Compl. ¶ 369.)       In other words,

Plaintiffs do not allege that Defendants, in purportedly engaging in a scheme to defraud, engaged

in any conduct beyond making the same alleged omissions and misrepresentations that comprise

Plaintiffs’ 10b-5(b) claim. Thus, because Plaintiffs fail to allege that Defendants made any such

omissions or misrepresentation, there can be no scheme. C.f. SEC v. SeeThruEquity, LLC, 18

Civ. 10374 (LLS), 2019 WL 1998027, at *5 (S.D.N.Y. Apr. 26, 2019) (permitting “scheme”

claims to advance where Plaintiff adequately alleged misstatements). Further, even if Plaintiffs

were able to adequately plead a “scheme” or “course of business,” they would still need to

adequately plead scienter and loss causation, which, for the reasons described herein, they cannot

do. In re Smith Barney Transfer Agent Litig., 884 F. Supp. 2d 152, 158 (S.D.N.Y. 2012).

III.   PLAINTIFFS’ CLAIMS FOR VIOLATION OF SECTION 20(a)
       OF THE EXCHANGE ACT SHOULD BE DISMISSED

       To state a Section 20(a) claim against the Individual Defendants, Plaintiffs must allege

(1) a primary violation, (2) control of the primary violator by the defendant, and (3) “that the

defendant was, in some meaningful sense, a culpable participant in the controlled person’s

fraud.” ATSI Commc’ns. Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 108 (2d Cir. 2007).

       Because Plaintiffs fail to plead a primary violation, their 20(a) claims should be

dismissed.   Id.   The Section 20(a) claims should also be dismissed because Plaintiffs do not

allege, as the Second Circuit has repeatedly required, facts showing that any of the Individual

Defendants culpably participated in the alleged fraud. See Carpenters Pension Tr. Fund of St.



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Louis v. Barclays PLC, 750 F.3d 227, 236 (2d Cir. 2014); ATSI, 493 F.3d at 108; Boguslavsky v.

Kaplan, 159 F.3d 715, 720 (2d Cir. 1998); SEC v. First Jersey Sec., Inc., 101 F.3d 1450, 1472

(2d Cir. 1996). As shown supra Sections I.B and I.C, the Complaint fails to plead the required

state of mind by the Individual Defendants, which failure requires dismissal of the Section 20(a)

claim. In re Sotheby’s Holdings, Inc. Sec. Litig., No. 00 Civ. 1041 (DLC), 2000 WL 1234601, at

*8 (S.D.N.Y. Aug. 31, 2000) (plaintiff failed to plead required state of mind under Section 20(a)

because plaintiff failed to plead required state of mind under Section 10(b)).


Dated: August 2, 2019                               Respectfully submitted,

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